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                         EXHIBIT 1
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                                     DENNIS RIORDAN, Plaintiff,

                                                    v.

                                 H.J. HEINZ COMPANY, Defendant.

                                        Civil Action No. 08-1122

                           United States District Court, W.D. Pennsylvania.

                                           December 8, 2009

      MEMORANDUM OPINION

      NORA BARRY FISCHER, District Judge.

     I. INTRODUCTION

      This action involves pro se Plaintiff Dennis Riordan's ("Plaintiff") claims against H.J. Heinz
Company ("Defendant" or "Heinz") related to Plaintiff's unsolicited submission of a proposed bottling
device invention to Defendant and Defendant's later sale of its condiments in an up-side down bottle.
Presently before the Court is a third motion to dismiss filed by Defendant, pursuant to which it seeks to
dismiss Plaintiff's misappropriation of ideas and copyright infringement claims set forth in his Second
Amended Complaint (Docket No. 37). In support of its motion, Defendant argues that Plaintiff's
misappropriation claim is barred by a waiver agreement executed by Plaintiff and submitted to Defendant
in conjunction with his proposed invention and/or the applicable statute of limitations and that Plaintiff
has otherwise properly failed to state claims upon which relief may be granted for both misappropriation
of ideas and copyright infringement. (Docket Nos. 39, 42). Plaintiff maintains that the waiver is not
enforceable, the statute of limitations should be tolled and that he has properly pled his claims. (Docket
Nos. 41 and 42). Upon consideration of the parties' submissions, and for the following reasons,
Defendant's motion to dismiss is GRANTED.

     II. FACTUAL BACKGROUND

       On January 21, 1999, Plaintiff filed an application with the United States Patent and Trademark
Office in order to obtain a patent for a bottling container for condiments and flavored beverages, which
he named a "Dual Chamber Container." (Docket No. 37 at ¶¶ 3, 9). Shortly thereafter, on January 28,
1999, Plaintiff initiated contact with Defendant by sending a letter to Dan Vogus, Defendant's Associate
General Counsel, informing him that he recently applied for a patent for a container that would be
"highly advantageous" to Defendant's business. (Docket No. 37 at ¶ 5; Docket No. 39-2).[1] Specifically,
the letter stated that the device is a "unique innovation that allows you to provide the consumer with two
(2) products occupying the same vertical space (Space Saver), e.g., mustard and catsup." (Docket No. 39-
2).[2] On February 1, 1999, Defendant responded that it does not, as a matter of policy, accept any
unsolicited submission of ideas from outside the company absent a written understanding defining the
conditions relating to such unsolicited submissions.[3] (Docket No. 37 at ¶ 6; Docket No. 39-4).
Defendant informed Plaintiff that he must execute and return the attached "Request for Consideration of
Idea" form prior to Defendant considering Plaintiff's proposed device. (Docket No. 37 at ¶ 6; Docket No.
39-4).

      Plaintiff signed, executed and mailed the "Request for Consideration of Idea" form on April 20,
1999 along with a minimal description of his idea and drawings of his bottling concept. (Docket No. 37
at ¶¶ 6-7; Docket No. 39-5). Pursuant to the "Request for Consideration of Idea" form, Plaintiff agreed
that "[s]ubject to the conditions set forth in this document, I am submitting for [Defendant's]
consideration my idea relating to:... Dual Chamber Bottle with Symmetrical Ends." (Docket No. 39-5).
Plaintiff's submission further explains that the device "[c]an be used as dispenser of for ex. Mustard &
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Catsup or other combinations." (Docket No. 39-5). The executed form also sets forth the terms of the
solicitation as follows:

      1. I acknowledge and agree that this submission has not in any way been solicited by H.J.
      Heinz Company ("HEINZ"), is not made in confidence, and does not establish any
      confidential relationship between HEINZ and me.

      2. I agree that the use or non-use that HEINZ may make of any ideas submitted by me shall
      be at the exclusive discretion of HEINZ.

      3. I acknowledge and agree that HEINZ has not and is not promising any compensation for
      my idea or the use of my idea, and that all agreements as to compensation, if any, shall be in
      writing.

      4. I waive and relinquish any rights that I may have in connection with said idea, except
      those rights that a valid patent, trademark, or copyright may cover.

      5. I agree that HEINZ shall be under no obligation to return any material that [I] submit to
      HEINZ.

      6. I further agree that the conditions set forth in this letter shall apply to any additional
      disclosures I make to HEINZ by me relating to the above idea.

(Id. ). As a supplement to the brief description on the form, Plaintiff attached a handwritten descriptive
page[4] and a notarized typewritten page,[5] containing bullet point descriptions of his bottle invention. (
Id. ). Also attached were a series of technical illustrations of the container labeled Figure 1 through
Figure 6.[6] (Id. ). Defendant responded to Plaintiff in June of 1999, thanking him for his letter regarding
a potential new bottle, but ultimately rejecting his idea after reviewing the concept with the appropriate
department.[7] (Docket No. 37 at ¶ 8).

       Plaintiff claims that he introduced an idea for a "new bottling concept" to Defendant in his 1999
correspondence. (Docket No. 37 at ¶ 12). Plaintiff's submission of his idea to Defendant was financially
motivated. (Id. at ¶ 16). With respect to the specifics of the idea which he submitted, he avers that it was
a "new bottle which can stand up-side down by the novel idea of creating a base by extending the walls
of the container beyond it's [sic] capped closure and standing on the circumferential edge of that
extension." (Id. ). He complains that Defendant "knowingly and unlawfully deceived [him] by not
informing him of [the] company's intent to expand on [his] idea by simply making the base detachable." (
Id. ). He further maintains that his idea was "the impetus in the development of dispensing ketchup and
other condiments in an up-side' down manner." (Id. ).

      Plaintiff alleges that Defendant permitted its employees to review and examine his idea, including
his drawings and description, which enabled Defendant to adapt or alter his idea and ultimately develop
its up-side down condiment dispenser. (Docket No. 37 at ¶ 15). He contends that these alterations were
made by Defendant "in an attempt to conceal" its misappropriation of his idea. (Id. at ¶ 15). Moreover,
Plaintiff complains that the Defendant's misappropriation or theft of his idea occurred three years after he
submitted his "novel idea, drawings included, to Defendant," i.e., in 2002. (Id. at ¶¶ 12, 16).

      After his 1999 submissions to Defendant, on August 22, 2000, the United States Patent and
Trademark Office issued Plaintiff Patent Number 6,105,812, for his "Dual Chamber Container." (Docket
No. 37 at ¶ 9; Docket No. 39-3). Plaintiff avers that Defendant officially introduced its "up-side down
bottle" via a press release in August of 2002. (Docket No. 37 at ¶ 10). He further alleges that in 2005 or
2006, Defendant altered their bottling terminology from "up-side down" to "top-down" bottle. (Id. ). In
January of 2006, Plaintiff contacted Defendant's legal department to request copies of their previous
correspondence. (Docket No. 37 at ¶ 11). Plaintiff alleges that Defendant informed him that he had been
"red-flagged" in their system and an attorney for Defendant asked Plaintiff if he was going to sue for any
reason. (Id. ).
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      Based on the above allegations, Plaintiff asserts claims of misappropriation of ideas and copyright
infringement against Heinz. (Docket No. 37). With respect to his claim of copyright infringement,
Plaintiff avers that he sought a valid copyright registration for his "bottle design drawings," "artwork"
and associated text on September 2, 2009, prior to the filing of his Second Amended Complaint. (Docket
No. 37 at ¶ 18). In support of this claim, Plaintiff has attached a "Form CO - Application for Copyright
Registration" dated September 1, 2009 to his Second Amended Complaint, which he claims was mailed
to the United States Copyright Office. (Docket No. 37 at ¶ 19; Docket No. 37-3). He states that because
of his ignorance of the law, he believed that his patent protected the subject matter of the materials to
which he now seeks copyright protection. (Docket No. 37 at ¶ 20).

      Finally, Plaintiff seeks the following relief: (1) a declaratory judgment stating that Defendant
violated Plaintiff's rights, including causing Plaintiff psychological trauma by misappropriating his idea
and by infringing Plaintiff's copyright privileges; (2) an injunction ordering Defendant to cease and desist
all bottling production "until a favorable resolution can be satisfactorily substantiated by all parties of
concern"; and (3) compensatory and punitive damages in the amount of $57,000,000, plus royalties.
(Docket No. 37 at 5).

     III. PROCEDURAL HISTORY

      Plaintiff initially commenced this action by filing his Complaint pro se in the United States District
Court for the Southern District of New York. (Docket No. 4). Thereafter, on August 11, 2008, that Court
entered an order transferring the case to the United States District Court for the Western District of
Pennsylvania. ( Id. ). On August 22, 2008, Plaintiff moved for Leave to Proceed in forma pauperis
(Docket No. 5), which this Court denied. (Docket No. 6). After paying the proper filing fee on August
25, 2008, Plaintiff filed his Complaint with this Court. (Docket No. 8).

      On October 20, 2008, Defendant filed a Motion to Dismiss Pursuant to Rules 12(b)(6), 12(e), and,
in the alternative, Rule 12(d) and 56. (Docket No. 11). Plaintiff filed his response on December 23, 2008.
(Docket No. 18). Then, on December 30, 2008, upon consideration of the parties' submissions, this Court
ordered Plaintiff to file an Amended Complaint. (Docket No. 22).

      Pursuant to this Order, Plaintiff filed his Amended Complaint on February 17, 2009. (Docket No.
25). Defendant again moved to dismiss Plaintiff's claims. (Docket No. 26). The Court liberally construed
Plaintiff's Amended Complaint as potentially asserting claims of misappropriation of ideas,
misappropriation of trade secrets, trademark infringement and copyright infringement. (Docket No. 35 at
6). Further, the Court recognized that Plaintiff had voluntarily withdrawn any claim of patent
infringement in his pleadings. (Id. ). After considering the parties' submissions, the Court granted
Defendant's motion and ordered that: Plaintiffs' misappropriation of trade secrets and trademark
infringement claims were dismissed, with prejudice; Plaintiffs' misappropriation of ideas and copyright
infringement claims were dismissed, without prejudice; and Plaintiff was granted leave to amend his
misappropriation of ideas and copyright infringement claims. (Docket No. 35 at 19). Specifically, the
Court granted Plaintiff leave to amend his misappropriation of ideas claim in order to describe succinctly
his "idea" that was allegedly misappropriated and to amend his copyright infringement claim "to the
extent that he can allege that he owns a registered copyright in any of the subject matter at issue." (Id. ).

      As directed, Plaintiff filed his Second Amended Complaint on September 14, 2009. (Docket No.
37). Defendant then filed its third Motion to Dismiss and Brief in Support on September 28, 2009.
(Docket Nos. 38, 39). Plaintiff filed two pleadings in response, the first styled as a "Sur-Reply" and the
second as a "Brief in Support," on October 28, 2009 and October 30, 2009, respectively. (Docket Nos.
41, 42). Finally, Defendant filed its Reply Brief on November 11, 2009.

     All briefing has concluded and the motion is now ripe for disposition.

     IV. LEGAL STANDARD

      A valid complaint requires only "a short and plain statement of the claim showing that the pleader
is entitled to relief." FED. R. CIV. P. 8(a)(2). To survive a motion to dismiss, a complaint must contain
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sufficient factual matter, accepted as true, to "state a claim to relief that is plausible on its face.'" Ashcroft
v. Iqbal, ___ U.S. ____, ____, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009) (citing Bell Atlantic Corp.
v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2008)); see also Fowler v. UPMC
Shadyside, 578 F.3d 203, 210 (3d Cir. 2009).

      The Supreme Court in Iqbal clarified that the decision in Twombly "expounded the pleading
standard for all civil actions.'" Iqbal, 129 S.Ct. at 1953; Fowler, 2009 U.S.App. LEXIS 18626, at *15.
The Court further explained that although a district court must accept as true all of the factual allegations
contained in a complaint, that requirement does not apply to legal conclusions; therefore, the pleadings
must include factual allegations to support the legal claims asserted. Iqbal, 129 S.Ct. at 1949, 1953.
"Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements, do
not suffice." Id. at 1949 (citing Twombly, 550 U.S. at 555); see also Fowler, 578 F.3d at 210; and Phillips
v. County of Allegheny, 515 F.3d 224, 232 (3d Cir.2008). The determination of whether a complaint
contains a plausible claim for relief under the facts asserted "is a context-specific task that requires the
reviewing court to draw on its judicial experience and common sense." Iqbal, 129 S.Ct. at 1950 (citing
Twombly, 550 U.S. at 556); Fowler, 578 F.3d at 211. In light of Iqbal, the United States Court of Appeals
for the Third Circuit has instructed that district courts should first separate the factual and legal elements
of a claim and then, accepting the "well-pleaded facts as true," "determine whether the facts alleged in
the complaint are sufficient to show that the plaintiff has a plausible claim for relief.'" Fowler, 578 F.3d
at 210-11. Ultimately, to survive a motion to dismiss, a plaintiff must plead "factual content that allows
the court to draw the reasonable inference that the defendant is liable for the misconduct alleged." Iqbal,
129 S.Ct. at 1949 (citing Twombly, 550 U.S. at 556).

      Additionally, because Plaintiff is proceeding pro se, his allegations are to be liberally construed as
he is held to a less stringent standard than attorneys. Erickson v. Pardus, 551 U.S. 89, 94, 127 S.Ct. 2197,
167 L.Ed.2d 1081 (2007); see also Washam v. Stesis, 321 Fed.Appx. 104, 105 (3d Cir. 2009)(not
precedential).

      In evaluating a Rule 12(b)(6) motion, a court "may look beyond the complaint to matters of public
record, including court files and records... and documents referenced in the complaint or essential to a
plaintiff's claim which are attached to either the [c]omplaint or the defendant's motion." Spence v.
Brownsville Area Sch. Dist., Civ. A. No. 08-0626, 2008 U.S. Dist. LEXIS 55026, at *7 (W.D.Pa. July 15,
2008) (citing Pension Benefit Guar. Corp. v. White Consol. Indus., 998 F.2d 1192, 1196 (3d Cir. 1993)).
A court may consider "an undisputedly authentic document that a defendant attaches as an exhibit to a
motion to dismiss if the plaintiff's claims are based on the document." Miller v. Clinton County, 544 F.3d
542, 550 (3d Cir. 2008) (quoting Pension Benefit Guar. Corp., 998 F.2d at 1196.). Otherwise, a plaintiff
with a legally insufficient claim could survive a motion to dismiss "simply by failing to attach a
dispositive document on which it relied." Pension Benefit Guar. Corp., 998 F.2d at 1196.

      V. DISCUSSION

      The Court first turns to the alleged waiver, a threshold issue, and will then address the sufficiency
of Plaintiff's allegations set forth in his misappropriation of ideas and copyright infringement claims.

      A. Effectiveness of the Waiver in the Request for Consideration of Idea Form

      In his Second Amended Complaint, as well as several other pleadings in this case, Plaintiff admits
that he signed the "Request for Consideration of Idea" form in conjunction with his submissions to Heinz
in 1999. (Docket No. 37 at ¶ 6). Pursuant to its terms, Plaintiff agreed, in pertinent part, that: (1) his idea
submission was not solicited by Defendant; (2) no confidential relationship between Plaintiff and
Defendant was created by his submission; (3) no compensation for the idea was promised by Defendant
and that any agreement regarding compensation would be set forth in a separate written agreement; and
(4) he "waived and relinquished" any rights in his ideas, except those covered by a "valid patent,
trademark or copyright." (Docket No. 39-5). Defendant argues that the language of the "Request for
Consideration of Idea" form is legally binding and operates as a waiver of Plaintiff's misappropriation of
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ideas claim. (Docket No. 39 at 6). Plaintiff contends that the form is not a contractual agreement and,
further maintains that he was not made fully aware of the form's intent and that "there was not a knowing,
voluntary and intelligent waiver." (Docket No. 41 at 1-2).

     This Court has previously applied Pennsylvania choice of law rules, and concluded that
Pennsylvania law governs Plaintiff's misappropriation of ideas claim. See Klaxon Co. v. Stentor Elec.
Mfg. Co., 313 U.S. 487, 498 (1941); Hammersmith v. TIG Ins. Co., 480 F.3d 220, 230 (3d Cir.2007).
With respect to the Defendant's waiver defense, there are no substantive differences in the laws of
Pennsylvania and New York[8] regarding general principles of contractual waivers or release agreements.
Accordingly, as there is no conflict between the laws of the two jurisdictions, the Court will apply
Pennsylvania law to this dispute. See Hammersmith, 480 F.3d at 230 ("If two jurisdictions' laws are the
same, then there is no conflict at all, and a choice of law analysis is unnecessary.").

       Releases of liability, such as that contained in paragraph 4 of the "Request for Consideration of
Idea" agreement, "are not favored" under Pennsylvania law. Beck-Hummel v. Ski Shawnee, Inc., 902 A.2d
1266, 1269 (Pa.Super. 2006)(citing Zimmer v. Mitchell and Ness, 385 A.2d 437, 439 (Pa.Super. 1978),
aff'd, 416 A.2d 1010 (Pa. 1980)). However, a release agreement may be enforceable if: (1) it does "not
contravene any policy of the law"; (2) it involves a "contract between individuals relating to their private
affairs"; (3) each party is a "free bargaining agent"; and (4) the agreement "spell[s] out the intent of the
parties with the utmost particularity." Id. (citing Kotovsky v. Ski Liberty Operating Corp., 603 A.2d 663,
665 (Pa. Super. 1992)). In addition, the release must be strictly construed and "against the party asserting
it." Id. (citing Kotovsky, 603 A.2d at 665).

    In this Court's estimation, all of the above requirements have been established in this case, and the
"Request for Consideration of Idea" form is a binding agreement, which will be enforced.

       The agreement does not contravene any public policy as there are no statutes or regulations barring
parties from limiting their rights to those arising under the patent, copyright or trademark laws of the
United States in an agreement involving an unsolicited idea submission by an inventor to a company. In
fact, several district courts have held that similar waivers were effective to bar common law claims.[9]
Moreover, an unsolicited submission of an idea by an individual inventor to a company pursuant to the
type of agreement involved in this case does not constitute an unconscionable contract of adhesion,[10]
which generally arises in the context of a consumer purchasing goods or services from a company. See
Victor G. Reiling Assoc., 406 F.Supp.2d at 185 ("Plaintiffs' argument that the [agreement] was a contract
of adhesion and therefore unenforceable because it was not fairly negotiated and/or because [the
inventor] did not understand its terms also fails as a matter of law."). With respect to Plaintiff's
contention that the waiver was not knowing and voluntary because he believed "[t]here would eventually
be some sort of compensation forthcoming for the use of any and all ideas,'" his allegations and
correspondence with Defendant demonstrate otherwise. Indeed, he presently avers that he executed the
"Request for Consideration" form and submitted it, along with his drawings, etc., to Defendant "in an
attempt to be compensated from the defendant for the introduction of the idea," (Docket No. 37 at ¶ 15),
that he was on a "quest to find suitable financial backing and/or compensation for release of the idea to
the bottle concept" (Docket No. 41 at 1), and the form itself explicitly states that "I acknowledge and
agree that HEINZ has not and is not promising any compensation for my idea or the use of my idea, and
that all agreements as to compensation, if any, shall be in writing" (Docket No. 39-5).

      The "Request for Consideration of Idea" form also clearly involves a "contract between individuals
relating to their private affairs" and both parties can be considered "free bargaining agents." Beck-
Hummel, 902 A.2d at 1269. Again, the substance of the agreement involves the unsolicited submission of
an idea by a private individual to a corporation for its consideration to determine if a potential business
relationship could be formed. (Docket No. 39-5). Moreover, although Defendant's initial correspondence
directed Plaintiff to execute and return the attached "Request for Consideration of Idea" form, which he
did without question, Plaintiff does not allege that he was prevented from negotiating the terms with
Defendant.
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      Further, the "Request for Consideration of Idea" agreement, strictly construed against Defendant, its
drafter, "spell[s] out the intent of the parties with [the] utmost particularity." Beck-Hummel, 902 A.2d at
1269. The pertinent provision states that "I waive and relinquish any rights that I may have in connection
with said idea, except those rights that a valid patent, trademark, or copyright may cover." (Docket No.
39-5 at ¶ 4). This language is clear and unambiguous, explicitly providing that Plaintiff agreed to waive
any rights that he possessed in the unsolicited ideas he presented to Defendant, except those covered by
the patent, trademark, or copyright laws. See American Flint Glass Workers Union, AFL-CIO v.
Beaumont Glass Co., 62 F.3d 574, 581 (3d Cir. 1995)(ambiguity is a question of law for the court and "[t]
o be unambiguous, an agreement must be reasonably capable of only one construction."). No other
construction is reasonable.

      Therefore, given the express language of the waiver in the "Request for Consideration of Idea"
agreement, which is enforceable, Plaintiff plainly waived any potential claims arising from his
submissions to Defendant in 1999, except to the extent that his rights were covered by a valid patent,
trademark or copyright. See Hassell, 982 at 528 ("The Court concludes that the language contained in the
Suggestion Agreement is susceptible of only one interpretation. The plaintiffs may only bring claims
against Chrysler resulting from patent, copyright or trademark infringement."). Plaintiff's remaining
claims[11] are only for misappropriation of ideas, a state common law claim, and copyright infringement.
Accordingly, Plaintiff waived his right to assert a claim for misappropriation of ideas and this claim must
be dismissed.

     B. Plaintiff's Claims Fail as a Matter of Law

       Although the Court has found that the waiver in the "Request for Consideration of Idea" form is
enforceable, and that Plaintiff's misappropriation of ideas claim must be dismissed because it is precluded
by the waiver, the Court will now address Plaintiff's allegations of his misappropriation of ideas and
copyright infringement claims, which are also subject to dismissal for failure to state a claim upon which
relief can be granted.

     1. Misappropriation of Ideas

      Plaintiff was granted leave to amend his misappropriation of ideas claim in order to permit him to
clarify the idea which he alleges he submitted to Defendant. (Docket No. 35 at 19). He alleges in his
Second Amended Complaint that the idea he submitted is for a "new bottle which can stand up-side
down by the novel idea of creating a base by extending the walls of the container beyond it's [sic] capped
closure and standing on the circumferential edge of that extension." (Docket No. 37 at ¶ 12). He
references the patent he owns for a "Dual Chamber Container" as well as the six drawings he submitted
to Defendant, which are virtually identical to the drawings in his patent. (Docket No. 37). Plaintiff
maintains that Defendant permitted its employees to review and examine his idea, including his drawings
and descriptions. (Docket No. 37 at ¶ 15). He claims that this review enabled Defendant to enhance,
adapt or alter his idea "by simply making the base detachable" and, ultimately, develop its up-side down
condiment dispenser. (Docket No. 37 at ¶ 15). These allegations are insufficient as a matter of law.

      Under Pennsylvania law, the tort of misappropriation of ideas has two elements: (1) the plaintiff
had an idea that was novel and concrete, and (2) his idea was misappropriated by the defendant.
Blackmon v. Iverson, 324 F.Supp.2d 602, 607 (E.D.Pa.2003)(citing Sorbee Int'l Ltd. v. Chubb Custom
Ins. Co., 735 A.2d 712, 714 (Pa.Super. 1999).

      For an idea to be legally protected, the idea must meet the threshold requirement of novelty.
Blackmon, 324 F.Supp.2d at 607. An idea is novel and merits protection when it is truly innovative,
inventive, and new. Id. An idea is not novel if it is merely a clever version or variation of already existing
ideas. Id. Novelty and concreteness are required so that the court can identify an idea as having been
created by one party and stolen by another. Sorbee, 735 A.2d at 714.

     At this stage, Plaintiff has sufficiently alleged a novel and concrete idea for a dual-chamber
container with extended walls that create bases around the capped enclosures on both ends of the bottle,
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permitting the container to stand on either side. However, Plaintiff has not sufficiently alleged that
Defendant misappropriated this idea.

     With respect to whether an idea has been misappropriated, Pennsylvania courts look to the three
elements of common law misappropriation:

      (1) the plaintiff "has made substantial investment of time, effort, and money into creating the
      thing misappropriated such that the court can characterize the thing' as a kind of property
      right," (2) the defendant "has appropriated the thing' at little or no cost such that the court
      can characterize the defendant's actions as reaping where it has not sown,'" and (3) the
      defendant "has injured the plaintiff by the misappropriation."

Sorbee, 735 A.2d at 716 (quoting LeBas Fashion Imports of USA, Inc. v. ITT Hartford Ins. Group, 50 Cal.
App.4th 548, 59 Cal.Rptr.2d 36 (Ca.App.1996)).[12] The first requirement is met, as the Court can
reasonably infer from the allegations in the Second Amended Complaint that Plaintiff invested time and
money in the creation of his idea, including by obtaining a patent for his dual chamber container.
However, Plaintiff has not sufficiently alleged the remaining elements. Plaintiff has not alleged that
Defendant produced a "dual chamber container" or even a single chamber bottle "which can stand up-
side down" on a base which extends from the "walls of the container beyond it's capped closure." (See
Docket No. 37). Instead, he maintains that Defendant improved his idea for a dual chamber container "by
making the base detachable,"creating its up-side down or TOPDOWN® bottle within which its
condiment products are now sold. (Docket No. 37 at ¶ 10). He also voluntarily submitted his ideas to
Defendant, subject to the terms of the "Request for Consideration of Ideas" form, agreeing that "the use
or non-use that HEINZ may make of any ideas submitted by [Plaintiff] shall be at the exclusive
discretion of HEINZ." (Docket No. 39-5). Therefore, he has not established that Defendant
"appropriated" his idea.

     Plaintiff has also failed to allege that he was injured by the alleged misappropriation, as he
maintains only that he was not paid for his idea.

      In order to state a claim for idea misappropriation, it must be the taking of the idea itself that
      causes the plaintiff a competitive or other financial harm. This occurs only when the
      defendant's use of the idea deprives the plaintiff of some competitive or financial benefit or
      causes some other detriment separate from the misappropriation.

Blackmon, 324 F.Supp.2d at 610. Merely alleging that one was not paid for an idea which was
voluntarily submitted to another is insufficient. Id. [13]

     For the above reasons, Defendant's motion to dismiss Plaintiff's misappropriation of ideas claim is
granted, and said claim is dismissed, with prejudice.[14]

     2. Copyright Infringement

      The Court also granted Plaintiff leave to amend his claim of copyright infringement against
Defendant, "to the extent that he can allege he owns a registered copyright in any of the subject matter at
issue." (Docket No. 35 at 19). In his Second Amended Complaint, Plaintiff alleges that he has submitted
an application to register a copyright "relating to subject matter originating in 1998 of plaintiff's bottle
design drawings' as described art-work' within the initial complaint, as well as the first amended
complaint." (Docket No. 37). Upon consideration of the allegations of his Second Amended Complaint,
and the attachments thereto, Plaintiff has failed to properly allege either registration or ownership of a
copyright, and his copyright infringement claim must be dismissed.

      Initiation of a civil suit for copyright infringement requires either preregistration or registration of
the work in question in accordance with the United States Copyright Act prior to initiating the suit. 17 U.
S.C. § 411(a).[15] This Court has previously recognized that there is a split amongst the Courts of
Appeals as to whether a suit can be maintained while an application for copyright registration remains
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pending, as it is in this case. See Tegg Corp. v. Beckstrom Elec. Co., Civ. A. No. 08-435, 2008 WL
2682602, at *5-6 (W.D.Pa. July 1, 2008). The United States Court of Appeals for the Third Circuit has
not addressed this issue. One line of cases, relying on Apple Barrel Prod., Inc. v. Beard, 730 F.2d 384,
386-87 (5th Cir.1984), permits the commencement of a copyright infringement action in district court
upon the Copyright Office's receipt of the copyright registration application, copies of the works sought
to be copyrighted and the payment of a filing fee. See Tang v. Hwang, 799 F.Supp. 499, 502-03 (E.D.Pa.
1992); R & B, Inc. v. Needa Parts Mfg., Civ. A. No. 01-1234, 2001 U.S. Dist. LEXIS 17406, 2001 WL
1251211 (E.D.Pa. Aug. 13, 2001); Bieg v. Hovnanian Enters., Inc., Civ. A. No. 98-5528, 1999 U.S. Dist.
LEXIS 17387, 1999 WL 1018578 (E.D.Pa. Nov.8, 1999). A second line of cases requires a plaintiff to
plead that he has actually registered the works in question with the Copyright Office prior to
commencement of the copyright infringement action. See La Resolana Architects, PA v. Clay Realtors
Angel Fire, 416 F.3d 1195, 1200, 1208 (10th Cir.2005)("A suit for copyright infringement cannot be
brought unless and until the copyright is registered."); Brewer-Giorgio v. Producers Video, Inc., 216 F.3d
1281, 1285 (11th Cir.2000); In re Literary Works in Electronic Databases Copyright Litigation, 509 F.3d
116 (2d Cir.2007), cert. granted Reed Elsevier, Inc. v. Muchnick, ___ U.S. ____, 129 S.Ct. 1523, 173 L.
Ed.2d 655 (2009); Wellness Pub v. Barefoot, Civ. A. No. 02-3773, 2008 WL 108889 at * 8 (D.N.J. Jan.
8, 2009). In this Court's estimation, the more persuasive view is that set forth in the second line of cases,
which adhere to the plain language of 17 U.S.C. § 411(a), and preclude a plaintiff from bringing a
copyright infringement claim while a registration is pending. Plaintiff alleges in his Second Amended
Complaint only that he has submitted an application for copyright registration and affixes proof of the
filing of the application and, therefore, has failed to meet the jurisdictional prerequisites for bringing a
copyright infringement claim in this Court. Accordingly, Plaintiff's copyright infringement claim must be
dismissed as this Court lacks subject matter jurisdiction over his claim.

      In addition, even if the registration requirement had been met, Plaintiff's allegations fail to properly
set forth the essential elements of a copyright infringement claim. To establish a claim of federal
copyright infringement, a plaintiff must establish "(1) ownership of a valid copyright; and (2)
unauthorized copies of original elements of the Plaintiff's work." Dun & Bradstreet Software Servs. v.
Grace Consulting, Inc., 307 F.3d 197, 206 (3d Cir.2002). Ownership of a valid copyright requires the
following: "(1) originality in the author; (2) copyrightability of the subject matter; (3) a national point of
attachment of the work, such as to permit a claim of copyright; (4) compliance with applicable statutory
formalities; and (5) (if the owner is not the author) a transfer of rights or other relationship between the
owner and the author." 13 MELVILLE B. NIMMER AND DAVID NIMMER, NIMMER ON
COPYRIGHTS, § 13.01[A] (2007).

       Plaintiff's allegations in his Second Amended Complaint that he submitted copyrightable subject
matter to Defendant are improper legal conclusions which are not credited at the motion to dismiss stage.
See Fowler, 578 F.3d at 210-11. Further, Plaintiff's "idea" for an up-side down bottle is not copyrightable
subject matter. See 17 U.S.C. § 102(b)("In no case does copyright protection for an original work of
authorship extend to any idea, procedure, process, system, method of operation, concept, principle, or
discovery, regardless of form in which is described, explained, illustrated, or embodied in such work.");
17 U.S.C. § 102(a)(Copyright law only protects a work of authorship "fixed in a tangible medium of
expression."). Moreover, to the extent that the text, drawings or other elements contained in the '812
patent contain copyrightable subject matter, Plaintiff has failed to specifically allege same in his Second
Amended Complaint. He has also failed to allege that Defendant copied any of these materials.
Accordingly, Plaintiff has failed to state a claim for relief for copyright infringement that is plausible on
its face.

     Based on the foregoing, Plaintiff's copyright infringement claim must be dismissed.[16]

     C. Leave to Amend Complaint

     The United States Court of Appeals for the Third Circuit has held that "if a complaint is subject to a
Rule 12(b)(6) dismissal, a district court must permit a curative amendment unless such an amendment
would be inequitable or futile." Phillips, 515 F.3d at 245. Further, "even when [a] plaintiff does not seek
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leave to amend his complaint after a defendant moves to dismiss it, unless the district court finds that
amendment would be inequitable or futile, the court must inform the plaintiff that he or she has leave to
amend the complaint within a set period of time." Id.

      Plaintiff will not be granted leave to amend his complaint a third time as any further amendment
would be futile. Plaintiff expressly waived any claims against Defendant which were not covered by a
valid patent, trademark or copyright in 1999, including his claim for misappropriation of ideas.
Moreover, even without these deficiencies, Plaintiff has failed to set forth sufficient facts to demonstrate
a plausible claim to relief for misappropriation of ideas as he has not alleged that Defendant
misappropriated his "idea" nor that he was injured by said misappropriation as required by Pennsylvania
law. Further amendment cannot cure these deficiencies. Accordingly, Plaintiff's misappropriation of
ideas claims must be dismissed, with prejudice.

      In addition, this Court lacks subject matter jurisdiction over Plaintiff's copyright infringement claim
because he has not met the statutory prerequisites for filing suit. Given Plaintiff's allegations that he has
only applied for a copyright of certain subject matter, further amendment cannot cure this defect.
Accordingly, as Plaintiff's copyright infringement claim is premature, it must be dismissed, without
prejudice.

         VI. CONCLUSION

     Based on the foregoing, Defendant's Motion to Dismiss [38] is GRANTED. Plaintiff's
misappropriation of ideas claim is dismissed, with prejudice, and his claim for copyright infringement is
dismissed, without prejudice. However, as all of Plaintiff's claims have been dismissed from this action,
the Clerk of Court is directed to mark this case CLOSED.

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Notes:

[1] The letter reads as follows: Dear Mr. Vogus:


I have recently filed a patent for a container which I strongly feel would be highly advantageous and well worth the time of
investigating.

This is a great opportunity for your company as you well know that packaging is of utmost importance in selling your product
in today's competitive market. Companies are currently devising advertising strategies to enhance their innate value by
obtaining a competitive edge. Think of what such a product will do for company sales, revenue and increased market value.

Are you willing to let this innovative "Blockbuster Bottle for the Millennium" pass you by? More importantly, are you willing
to let your competition take advantage of this futuristic innovation? Do not hesitate.

This unique innovation allows you to provide the consumer with two (2) products occupying the same vertical space (Space
Saver), e.g., mustard and catsup. A perfect combination for any household, convenient and practical, but most of all total
satisfaction for the consumer.

Lead the way into the new century and blow away your competition. This unique packaging is inevitable, be the first to utilize
its marketing power.

I can be reached at (914) ***_**** for further questions and information.

s/ Dennis Riordan Dennis Riordan, Inventor Patent Pending

(Docket No. 39-2).

[2] Plaintiff sent a similar letter and submission to Crown, Cork & Seal Co. Inc. by fax on February 8, 1999. (Docket No. 37-2).
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[3] The February 1, 1999 letter states: Dear Mr. Riordan:


Thank you very much for your letter, dated January 28, 1999, in which you indicate that you believe you may have ideas that
may be of interest to H.J. Heinz Company ("Heinz").

As a matter of policy, Heinz does not solicit the submission of ideas from outside our company. This being the case, I am
returning your letter dated January 28, 1999. Heinz is willing to consider unsolicited ideas only if a written understanding
defining the conditions relating to such unsolicited submissions exists.

On the reverse side of this letter, you will find a request form setting forth such conditions. You should execute this form and
return it to me at the time you submit your idea in order for Heinz to receive or consider your idea.

Very truly yours, s/ Max F. Miller

(Docket No. 39-4).

[4] The handwritten descriptive page is dated 4/20/99 and states the following:


- A Revolutionary bottle appropriate to your product line.

- A "Space Saver" which houses Mustard and Catsup in one vertical space.

- Perfect for picnics, sports events, college students or single people.

- Bottle can be altered to accomodate [sic] current triangular pour spouts AND decreasing deviation from the true scope and
spirit of the invention.

- Make a tremendous impact on market AND increase company revenue.

- Innovative packaging for the "Millenium" "Two for 2 Thousand"

Thank you s/ Dennis Riordan # 914-***-****

(Docket No. 39-5).

[5] The typewritten descriptive page is dated in November of 1998 and states the following:


"The 2 Liter Flavor Saver": "The Flavor Saver that Savors the Flavor"

"Savor the Flavor With the Flavor Saver"

Unique compartimentalization will prevent 2 liter carbonated beverage from going flat (MAJOR CONSUMER
COMPLAINT) 1 liter remains carbonated during consumption of opposite liter.

Conical divider displaces carbonated beverage so weight is distributed as to prevent "Top-Heaviness".

Circumference is same as present 2 liter bottle so as not to cause interference with present crate shipping.

Conical divider allows for mixing 2 liter carbonated beverage that offers more than one flavor, i.e.; diet/regular>>>"2 Liter
Buddy Pac"

Not limited to 2 liter bottle>>>Perfect for 3 liter; 1.5 + 1.5 = 3

Symmetrical base allows identical 2-way spout. Ultimately, this innovative shape is neither up-side down nor right-side up.
Promotionally, 2 chances to win.

Symmetrical base ensures stability when standing.
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Symmetrical base serves as spill-guard.

Symmetrical base contains easy-carry two finger punch design.

Symmetrical base contains rounded and/or tapered edge for safety.

 Unique symmetrical design makes any household combinations available, i.e.; juices, foods, detergents, spreads. Serves as a
"Space Saver".

Current bottles are mundane and boring. People will buy solely because of uniqueness and futuristic design. Similar to Coca-
Cola Twist Bottle, an American Icon.

 Advertising; "Turn of the Century", "turn" the bottle either way and still have the same great product. "Blockbuster Bottle for
the Millenium"

This Descriptive page entitled "The 2 Liter Flavor Saver" and attached diagrams labeled Fig. 1 through Fig. 6 is the property of
Dennis Riordan.

(Docket No. 39-5).

[6] The Court notes that the drawings submitted to Heinz by Plaintiff, labeled Figure 1 through Figure 6, are identical to the

drawings in Patent Number 6,105,812, dated Aug. 22, 2000, except that they lack the reference numbers contained in the
patent itself. (Compare Docket No. 39-2 at 2-6 with Docket No. 39-5 at 4-8).

[7] The June 16, 1999 letter provides that: Dear Mr. Riordan:


Thank you for your letter regarding a new bottle for Heinz ketchup and mustard.

After reviewing your idea with the appropriate department, H.J. Heinz Company ("Heinz") has determined that it has no
present interest in this concept.

Heinz would like to thank you for your interest in and consideration of Heinz.

Thank you again for writing to us. Very truly yours, s/ Max F. Miller

(Docket No. 39-6).

[8] It is well established in New York that a valid release which is clear and unambiguous on its face and which is knowingly

and voluntarily entered into will be enforced as a private agreement between parties. Thus, a release will be binding on the
parties absent a showing of fraud, duress, undue influence, or some other valid legal defense.

Skylon Corp. v. Guilford Mills, Inc., 864 F.Supp. 353, 358 (S.D.N.Y. 1994)(quoting DuFort v. Aetna Life Ins. Co., 818 F.Supp.
578 (S.D.N.Y.1993) (internal quotations and citations omitted); see also Hummel v. AstraZeneca LP, 575 F.Supp.2d 568, 570
(S.D.N.Y. 2008)(quoting Skluth v. United Merch. & Mfr., Inc., 163 A.D.2d 104, 559 N.Y.S.2d 280, 282 (N.Y.App.Div. 1st
Dep't 1990) and citing Laramee v. Jewish Guild for the Blind, 72 F.Supp.2d 357, 359 (S.D.N.Y. 1999))("Courts applying New
York law will enforce valid releases that are clear and unambiguous on their face and which were knowingly and voluntarily
entered into and were not the product of fraud, duress, or undue influence.'").

The Court notes that if New York law was applied, the contractual waiver/release in the Request for Consideration of Idea
form would still be enforced.

[9] See, e.g., Victor G. Reiling Assoc. and Design Innovation, Inc. v. Fisher-Price, 406 F.Supp.2d 175, 182-86 (D.Conn. 2005)

(applying New York law and upholding a contractual waiver provision which stated that "[y]ou must understand and agree that
in return for receiving and examining your disclosure, we are released from any liability in connection with the receipt and
examination of your disclosure, except as to such liability that may accrue under any valid patents or copyrights that you now
or hereafter own or control."); Taylor v. DaimlerChrysler AG, 237 F.Supp.2d 789 (E.D. Mich. 2002)(applying Michigan law
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and upholding a contractual waiver provision which stated that "I do not hereby give Chrysler Corporation any rights under
any patents, trademarks or copyrights I now have or may later obtain covering my suggestion, but I do hereby in consideration
of the examination of my suggestion release it from any liability in connection with my suggestion or liability because of use
of any portion thereof except such liability as may arise under valid patents, trademarks or copyrights now or hereafter issued
or obtained...."); Hassell v. Chrysler Corp., 982 F.Supp. 515, 528 (S.D.Ohio 1997)(upholding a contractual waiver which
stated that "I do not hereby give Chrysler Corporation any rights under any patents... I may now have or later obtain covering
my suggestion, but I do hereby in consideration of the examination of my suggestion release it from any liability in connection
with my suggestion or liability because of use of any portion thereof except such liability as may arise under valid patents,
trademarks, or copyrights now or hereafter issued or obtained."); M.H. Segan Ltd. P'ship v. Hasbro, Inc., 924 F.Supp. 512, 526
(S.D.N.Y. 1996), abrogated on other grounds by Nadel v. Play-By-Play Toys & Novelties, Inc., 208 F.3d 368 (2d Cir. 2000)
(applying New York law and upholding a waiver which provided that "[a]ll of inventor's rights and remedies arising out of
Inventor's Submission(s) to Hasbro shall be limited to any rights and remedies Inventor is accorded under United States Patent
and Copyright Laws. All other claims of whatever nature arising out of Inventor's submission to Hasbro are hereby waived.");
Kearns v. Ford Motor Co., 203 U.S.P.Q. 884, 886 (E.D.Mich.1978)(applying Michigan law and upholding a waiver which
provided that "[a]ll rights and remedies of the undersigned (and principals, if any, of the undersigned) arising out of the
disclosure of such suggestions to, or the use thereof by the Ford Motor Company or any of its representatives, shall be limited
to any rights and remedies, as may now or in the future be accorded to the undersigned under United States Patents or
Copyrights... All other claims of any nature whatever arising out of any disclosure of the undersigned to Ford Motor Company
are hereby waived."); but see Burten v. Milton Bradley Co., 763 F.2d 461, 462-68 (1st Cir. 1985)(applying Massachusetts law
and refusing to enforce a waiver to bar a claim for misappropriation of trade secrets because the language of the agreement did
not explicitly waive a confidential relationship between the parties but stated only that "I understand that this submission by
me and its acceptance by Company does not, in whole or in part, establish or create by implication or otherwise any
relationship between Company and me...").

[10] Under Pennsylvania law,


[g]enerally, an adhesion contract is a standardized contract form offered to consumers of goods and services on an essentially
take it or leave it basis without affording the consumer a realistic opportunity to bargain and under such conditions that the
consumer cannot obtain the desired product or services except by acquiescing to the form contract. The fundamental nature of
this type of contract is such that the consumer who is presented with it has no choice but to either accept the terms of the
document as they are written or reject the transaction entirely.

Todd Heller, Inc. v. United Parcel Service, Inc., 754 A.2d 689, 700 (Pa.Super. 2000)(internal citations and quotations omitted).

[11] As discussed in the Court's previous Memorandum Opinion, Plaintiff has expressly withdrawn any patent infringement

claim against Defendant and this Court dismissed his trademark infringement and trade secrets claims, with prejudice. (Docket
No. 35 at 19).

[12] A plaintiff may also be required to establish that there is competition between the plaintiff and the defendant. Sorbee, 735

A.2d at 716 (quoting Atlantic Mutual Ins. Co. v. Badger Medical Supply Co., 191 Wis.2d 229, 528 N.W.2d 486 (Wis.1999)
("[The] essence of [a] cause of action of misappropriation is the defendant's use of the plaintiff's product, into which plaintiff
has put time, skill and money; and the defendant's use of the plaintiff's product or a copy of it in competition with the plaintiff
and gaining an advantage in that competition because the plaintiff, and not the defendant, has expended the energy to produce
it.")); see also Blackmon, 324 F.Supp.2d at 607. However, as was recognized in the previous Memorandum Opinion, the Court
need not reach the issue because Plaintiff's claims are deficient for other reasons.

[13] Given the Court's rulings that Plaintiff's misappropriation of ideas claim must be dismissed based on the waiver and for

failure to state a claim upon which relief can be granted, the Court need not address Defendant's alternative argument that this
claim is barred by the statute of limitations. However, the Court notes that Plaintiff alleges that his idea was misappropriated
three years after his submissions, i.e., in 2002 and his initial complaint in this action was not filed until six years later, in
August of 2008. This filing is clearly outside the applicable two-year statute of limitations for tort claims under Pennsylvania
law. See 42 Pa.C.S. § 5524(7)("The following actions and proceedings must be commenced within two years:... (7) Any other
action or proceeding to recover damages for injury to person or property which is founded on negligent, intentional, or
otherwise tortious conduct..."); see also Robinson v. Johnson, 313 F.3d 128, 134-35 (3d Cir.2002) ("If the bar is not apparent
on the face of the complaint, then it may not afford the basis for a dismissal of the complaint under Rule 12(b)(6).").
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In addition, to the extent that Plaintiff maintains that the statute of limitations should be tolled based on the discovery rule, his
arguments lack credibility and do not demonstrate that he acted with reasonable diligence in preserving his claim. The
discovery rule precludes the application of the statute of limitations to bar a claim when an injury is not discovered due to "a
plaintiff's complete inability, due to facts and circumstances not within his control, to discover an injury despite the exercise of
due diligence." Kingston Coal Co. v. Felton Min. Co., Inc., 690 A.2d 284, 288 (Pa.Super 1997). The inquiry as to reasonable
diligence is generally left for a jury except "where the facts are so clear that reasonable minds cannot differ as to whether the
plaintiff should reasonably be aware that he has suffered an injury, the determination as to when the limitations period
commences may be made as a matter of law." Kingston Coal, 690 A.2d at 288. Plaintiff complains that his idea for an up-side
down bottle was misappropriated by Defendant's production and national distribution of its ketchup products in up-side down
bottles in 2002. (Docket No. 37 at ¶¶ 12, 16). He alleges that Defendant changed its bottling terminology from up-side down to
top-down in 2005-2006. (Id. at ¶ 10). He then contacted Defendant's legal department in January of 2006 in an attempt to
recover his earlier submissions. (Id. at ¶ 11). Despite the national distribution of Defendant's products in up-side down bottles
in 2002, Plaintiff's awareness of the change in terminology describing Defendant's bottle in 2005-2006, and his contacting
Defendant in January of 2006, Plaintiff contends that he did not learn of the misappropriation until 2007, when he allegedly
began investigating press releases. (Docket Nos. 41, 42). In this Court's estimation, Plaintiff's tolling argument contradicts the
allegations in his complaint and is weak, at best.

[14] As set forth in section V(C) infra, any further amendment of this claim would be futile.


[15] Section 411(a) provides:


no action for infringement of the copyright in any United States work shall be instituted until preregistration or registration of
the copyright claim has been made in accordance with this title. In any case, however, where the deposit, application, and fee
required for registration have been delivered to the Copyright Office in proper form and registration has been refused, the
applicant is entitled to institute an action for infringement if notice thereof, with a copy of the complaint, is served on the
Register of Copyrights.

17 U.S.C. § 411(a).

[16] As set forth in section V(C) infra, Plaintiff will not be granted leave to amend this claim.


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                          EXHIBIT 2
  Case 1:20-cv-00613-SB          Document 17-1        Filed 08/20/20      Page 16 of 65 PageID #: 491


                              Network Managing Solutions, LLC, Plaintiff,

                                                      v.

                        AT&T INC. and AT&T MOBILITY, LLC, Defendant.

                              Network Managing Solutions, LLC, Plaintiff,

                                                      v.

                       Sprint Corporation and Sprint Spectrum L.P., Defendant.

                              Network Managing Solutions, LLC, Plaintiff,

                                                      v.

                                     T-Mobile USA, Inc., Defendant.

                              Network Managing Solutions, LLC, Plaintiff,

                                                      v.

                  United States Cellular Corporation d/b/a/ U.S. Cellular Defendant.

                              Network Managing Solutions, LLC, Plaintiff,

                                                      v.

     Verizon Communications Inc. and Cellco Partnership d/b/a Verizon Wireless, Defendant.

  Nos. 16-cv-295 (RGA), 16-cv-296 (RGA), 16-cv-297 (RGA), 16-cv-298 (RGA), 16-CV-299 (RGA)

                                United States District Court, D. Delaware

                                             February 3, 2017

      MEMORANDUM ORDER

     Defendants have moved under Federal Rule of Civil Procedure 12(b)(6) for dismissal of all the
claims in suit. There are five separate complaints but the complaints are, in relevant parts, the same.
Defendants' motions (No. 16cv295 D.I. 7; No. 16cv296 D.I. 7; No. 16cv297 D.I. 7; No. 16cv298 D.I. 7;
No. 16cv299 D.I. 9) are GRANTED.

      Defendants' motion to dismiss Plaintiffs direct infringement claim is GRANTED. Plaintiff makes
three primary allegations related to infringement. First, Plaintiff identifies at least one claim from each
asserted patent that it alleges Defendants infringed. Second, Plaintiff alleges that the 3rd Generation
Partnership Project Standards incorporate the technologies covered by the patents. Third, Plaintiff also
alleges on information and belief that Defendants adopted the 3GPP standards.

     The first and third allegations are sufficient. In particular, Plaintiff cannot be expected to allege
more about Defendants' use of the patented technology as Defendants keep information about their own
technology secret and Defendants do not offer some public product that can be reverse engineered.

     The second allegation, however, is incomplete. Plaintiff knows its own patents. The standards are
public. Saying on "information and belief that the standards "incorporate the fundamental technologies"
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covered by the patents, without more, is insufficient to plausibly allege that to practice the standard
necessarily means that a defendant also practices the patent.

      Defendants' motion to dismiss Plaintiffs indirect infringement claims is GRANTED. There are
additional reasons to grant dismissal of the allegations of indirect infringement. First, Plaintiff has failed
to identify in any manner, directly or by implication, some third party that actually infringes. Second,
Defendants' participation in standard setting does not create a plausible claim Defendants possessed
specific intent to induce another's infringement.

      Defendants' motion to dismiss Plaintiffs willful infringement claims is GRANTED. As explained,
Plaintiff has not adequately pled direct infringement. Otherwise, Plaintiffs allegations about Defendants'
knowledge of the patent through its licensing attempts would adequately allege a claim of willful
infringement.

      Defendant Verizon Communications Inc. (VCI) has moved for dismissal of all claims against it
because it is a holding company that does not make or sell any products or services in Delaware. While
ultimately this may be grounds for judgment against Plaintiff and grounds for a § 285 motion, Rule 12(b)
(6) requires me to consider only the pleadings. Because I have granted the motion on other grounds,
however, I do not need to reach this issue.

     The dismissal is without prejudice. Plaintiff is granted three weeks to file an amended complaint.

     IT IS ORDERED.
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                          EXHIBIT 3
  Case 1:20-cv-00613-SB         Document 17-1       Filed 08/20/20     Page 19 of 65 PageID #: 494


            LOU ANN WOERNER, as the beneficiary of Michael J. Woerner, Plaintiff,

                                                   v.

          FRAM GROUP OPERATIONS, LLC, and ERIC SCHUENEMAN, Defendants.

                                    Civil Action No. 12-6648 (SRC)

                             United States District Court, D. New Jersey.

                                             April 29, 2013

      OPINION

      STANLEY R. CHESLER, District Judge.

     This matter comes before the Court on the motion by Defendant Eric Schueneman to dismiss the
claims against him pursuant to Federal Rule of Civil Procedure 12(b)(6). (Docket Entry 7) Plaintiff Lou
Ann Woerner has opposed the motion. (Docket Entry 16) The Court will rule on the papers submitted,
and without oral argument. See Fed.R.Civ.P. 78. For the reasons that follow, the Court will grant the
motion in part and deny it in part.

     I. THE FACTS

     In July 2010, Plaintiff Lou Ann Woerner's husband, Michael J. Woerner, was diagnosed with brain
cancer. At the time of his diagnosis, Mr. Woerner worked for Honeywell and participated in the
company's ERISA-covered benefits plans. In January 2011, Honeywell agreed to sell the business unit
employing Mr. Woerner to Defendant FRAM. This sale closed on July 29, 2011, about a month after Mr.
Woerner took a leave of disability from work. The Woerners were concerned that the sale would
adversely affect Mr. Woerner's employee benefits and insurance coverages, and they actively sought
information from both Honeywell and FRAM. At some point, the Woerners were told that they would
have to speak with FRAM's Director of Compensation, Benefits, and HRIS, Defendant Eric Schueneman.

      The Woerners initially had difficulty reaching Schueneman, and when they did, they were told that
the information they sought was not yet available. The Woerners continued to seek information, by
phone and email, from Honeywell, FRAM, and Schueneman about how the sale might affect Mr.
Woerner's benefits. During this time, the Woerners were given the impression that Mr. Woerner would
be eligible for life insurance through FRAM. Plaintiff points to a conversation she had with Schueneman
on or about December 5, 2011, in which Schueneman indicated that he was "sure" Mr. Woerner could
enroll in FRAM's life insurance plan.

      On December 7, 2011, the Woerners made their benefits and insurance coverage elections for 2012.
Mr. Worerner elected to enroll in a $297, 000 basic life insurance policy and a $198, 000 voluntary life
insurance policy. Both had effective dates of January 1, 2012, and named Plaintiff as beneficiary. Mr.
Woerner received written confirmation of his "enrolled" status and life insurance converage.

      Mr. Woerner's voluntary life insurance policy required a monthly contribution of $16.91, and in
January, 2012, the Woerners noticed that premium contributions were not being automatically deducted
from Mr. Woerner's compensation. Plaintiff emailed Schueneman to discuss this and other issues but
received no response. After repeated attempts, Plaintiff reached Schueneman by telephone in mid to late
January 2012. Schueneman told Plaintiff not to worry, that the Woerners were covered, and that letters
would be going out to explain how to make premium contributions by check. The Woerners never
received such a letter.
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      Plaintiff alleges, upon information and belief, that around this time, Schueneman learned that it
might be necessary for Mr. Woerner to attend work for a day in order to become eligible for life
insurance benefits. Schueneman never shared this information with the Woerners.

      Mr. Woerner passed away on February 24, 2012. After a number of unsuccessful attempts to get
information from Schueneman about the pay out on Mr. Woerner's life insurance policy, Plaintiff spoke
directly with the insurance company, who disclosed that Mr. Woerner was not covered at the time of his
death.

     Plaintiff has brought suit against both FRAM and Schueneman, alleging five separate counts under
the Employee Retirement Income Security Act of 1974 ("ERISA"), 29 U.S.C. § 1002, et seq.[1] Plaintiff
seeks a constructive trust and other equitable relief.

      II. DISCUSSION

      A. Standard of Review

      A complaint will survive a motion under Rule 12(b)(6) if it states "sufficient factual allegations,
accepted as true, to state a claim for relief that is plausible on its face.'" Ashcroft v. Iqbal , 129 S.Ct. 1937
, 1949 (2009) (quoting Bell Atlantic Corp. v. Twombly , 550 U.S. 544, 570 (2007)). The Third Circuit,
following Twombly and Iqbal, has held that Rule 8(a) "requires not merely a short and plain statement,
but instead mandates a statement showing that the pleader is entitled to relief.'" Phillips v. County of
Allegheny , 515 F.3d 224, 234 (3d Cir. 2008). In a Rule 12(b)(6) motion, the Court is limited in its review
to a few basic documents: the complaint, exhibits attached to the complaint, matters of public record, and
undisputedly authentic documents if the complainant's claims are based upon those documents. See
Pension Benefit Guar. Corp. v. White Consol. Indus. , 998 F.2d 1192, 1196 (3d Cir. 1993).

      B. Breach of Fiduciary Duty

      Schueneman moves to dismiss Counts Two, Three, and Four of the Complaint on the grounds that
Plaintiff has failed to adequately plead that Schueneman is an ERISA fiduciary. The Court disagrees.

     Fiduciary status is broadly defined under ERISA. Curcio v. John Hancock Mut. Life Ins. Co. , 33 F.
3d 226 (3d Cir. 1994). In Unisys Corp. Retiree Med. Benefits Erisa Litig. v. Unisys Corp., the Third
Circuit articulated the general standards for determining who is an ERISA fiduciary:

      "ERISA... defines fiduciary' not in terms of formal trusteeship, but in functional terms of
      control and authority over the plan." Mertens v. Hewitt Assocs. , 508 U.S. 248, 262 (1993).
      Accordingly, "[f]iduciary duties under ERISA attach not just to particular persons, but to
      particular persons performing particular functions." Hozier v. Midwest Fasteners, Inc. , 908
      F.2d 1155, 1158 (3d Cir. 1990). Accordingly, "a person is a fiduciary with respect to a plan
      only to the extent that he has any discretionary authority or discretionary responsibility in the
      administration of such plan." Varity Corp. v. Howe , 516 U.S. 489, 527 (1996) (internal
      quotation marks omitted). "A plan administrator... acts as a fiduciary when explaining plan
      benefits and business decisions about plan benefits to its employees. Adams v. Freedom
      Forge Corp. , 204 F.3d 475, 492 (3d Cir. 2000).

579 F.3d 220, 228 (3d Cir. 2009).

      Schueneman argues that his position as FRAM's Director of Compensation, Benefits and HRIS is
insufficient to establish his status as an ERISA fiduciary. Schueneman also maintains that Plaintiff has
failed to allege specific facts that Schueneman exercised individual discretionary authority over the plan's
management, assets, and administration and was performing a fiduciary function when taking the
challenged action.
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      The Court concludes that Plaintiff has alleged sufficient facts to survive a motion to dismiss based
on Schueneman's non-fiduciary status. Schueneman's title, while perhaps not adequate, by itself, certainly
qualifies as a non-conclusory factual allegation supporting a claim that Schueneman was an ERISA
fiduciary. The Complaint also alleges that Schueneman had discretionary authority to act on behalf of the
plan and that no other natural person had any information about the plan. Finally, the Complaint alleges
that Schueneman expressly assured Plaintiff that her husband would have life insurance coverage at
FRAM. In Adams v. Freedom Forge Corp ., the Third Circuit stated that "[a] plan administrator... acts as
a fiduciary when explaining plan benefits and business decisions about plan benefits to its employees."
204 F.3d 475 (3d Cir. 2000). Under the factual allegations contained in the Complaint, it would be
improper to dismiss Plaintiff's claims for fiduciary breach at this early stage. A determination on
Schueneman's fiduciary status must await an evidentiary hearing. If discovery indicates that Schueneman
did not function as a fiduciary, he may move for summary judgment on the issue.

     C. Equitable Estoppel

      Next, Schueneman argues that Plaintiff has failed to state a claim against him on a theory of
equitable estoppel. The Court agrees.

      The parties do not dispute that to state a claim for equitable estoppel, a Plaintiff must show "(1) a
material representation, (2) reasonable and detrimental reliance upon the representation, and (3)
extraordinary circumstances.'" Burstein v. Ret. Account Plan for Emples. of Allegheny Health Educ. &
Research Found. , 334 F.3d 365, 383 (3d Cir. 2003) (quoting Curcio, supra , 33 F.3d at 235).

      Schueneman first argues that Plaintiff has not sufficiently pled the presence of "extraordinary
circumstances." The Third Circuit has not clearly defined "extraordinary circumstances" but instead
relies on case law to establish its parameters. Kurz v. Phila. Elec. Co. (Kurz II) , 96 F.3d 1544, 1553 (3d
Cir. 1996). Extraordinary circumstances may "involve acts of bad faith on the part of the employer,
attempts to actively conceal a significant change in the plan, or commission of fraud.'" Burstein, supra ,
334 F.3d at 383 (quoting Jordan v. Federal Express Corp. , 116 F.3d 1005, 1011 (3d Cir. 1997)).
Extraordinary circumstances may also be present "where there is a network of misrepresentations over an
extended course of dealing, ' or where particular plaintiffs are especially vulnerable." Pell v. E. I. DuPont
De Nemours & Co. , 539 F.3d 292, 303-04 (3d Cir. 2008) (citing Kurz, supra , 96 F.3d at 1553). The
Third Circuit has "consistently rejected estoppel claims based on simple ERISA reporting errors or
disclosure violations, such as variations between a plan summary and the plan itself." Kurz (II) , 96 F.3d
at 1553.

      According to Schueneman, Plaintiff has, at most, alleged facts showing that Schueneman was
"dilatory and may have made some mistakes in delivering information" to Mr. Woerner. (Def.'s Br. Supp.
Mot. Dismiss 6) In this Court's view, Plaintiff's allegations, taken as true, satisfy the "extraordinary
circumstances" element of a claim for equitable estoppel.

      The Third Circuit has held that "extraordinary circumstances" may exist where an ERISA
fiduciary's repeated assurances of coverage and ultimate disclamation sends a beneficiary on a "roller
coaster" ride. See Curcio, supra , 33 F.3d at 238. In assessing whether extraordinary circumstances are
present, the Third Circuit has also considered a defendant's "repeated oral and written misrepresentations,
" a beneficiary's "diligence in attempting to obtain accurate answers, " and the amount of coverage at
stake. Smith v. Hartford Ins. Group , 6 F.3d 131, 142 (3d Cir. 1993). Plaintiff has pled repeated
misrepresentations and omissions by Schueneman and the Woerner's diligent attempts to obtain accurate
information. Although the amount of disputed coverage in this case falls short of the $1 million policy at
issue in Smith, the Court concludes that the amount is significant enough to support a claim of
extraordinary circumstances.

     The Court also concludes that Plaintiff has alleged extraordinary circumstances based on Plaintiff's
vulnerable position. The Third Circuit has generally recognized the presence of extraordinary
circumstances based on particular vulnerability only "in instances of imminent and life threatening health
emergencies to the plaintiff himself or to his family members." Araujo v. Kraft Foods Global, Inc., 387
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Fed.Appx. 212, 217 (3d Cir. 2010) (citing Smith, supra, and Curcio, supra). Aware of the life-threatening
nature of Mr. Woerner's brain cancer diagnosis and the uncertainty posed by the sale of his employer,
Mr. Woerner tried assiduously to ensure that his family would be financially secure in the event of his
death. Plaintiff alleges, upon information and belief, that Schueneman knew but failed to disclose that
Mr. Woerner could only qualify for coverage if he worked for at least one day in 2012. According to the
Complaint, Mr. Woerner was ready, willing, and able to satisfy that requirement, had he known about it,
and Schueneman's failure to convey this information resulted in a substantial financial loss to Plaintiff.

      While Plaintiff has shown "extraordinary circumstances, " the claim must nevertheless be
dismissed. A claim for equitable estoppel prevents a plan from denying benefits it promised to a
participant or beneficiary. See Kimberly A. Kralowec, Comment: Estoppel Claims against ERISA
Employee Benefit Plans, 25 U.C. Davis L. Rev. 487, 492 (1992) ("Plaintiffs in estoppel cases are
ineligible for benefits under the plan's terms, but argue that the plan is estopped from so asserting.").
Since a claim of equitable estoppel seeks benefits that only the plan can provide, such a claim simply
makes no sense as against anyone else. As Schueneman correctly points out, the defendants in the cases
relied upon by Plaintiff were employers, not individual employees. Schueneman, who is not the plan, is
simply not amenable to suit on a theory of equitable estoppel. Therefore, the claim must be dismissed
with prejudice.

     D. Illegal Statutory Interference

      Finally, Schueneman moves to dismiss Plaintiff's claim for illegal statutory interference under §
510 of ERISA on the grounds that Plaintiff has failed to allege facts showing Schueneman had a "specific
intent" to interfere with Mr. Woerner's benefits. The Court agrees.

     Section 510 of ERISA provides, in part, that

      [i]t shall be unlawful for any person to discharge, fine, suspend, expel, discipline, or
      discriminate against a participant or beneficiary for exercising any right to which he is
      entitled under the provisions of an employee benefit plan, this subchapter, section 1201 of
      this title, or the Welfare and Pension Plans Disclosure Act [29 U.S.C. 301 et seq.], or for the
      purpose of interfering with the attainment of any right to which such participant may become
      entitled under the plan, this subchapter, or the Welfare and Pension Plans Disclosure Act.

      "To establish a prima facie case under ERISA § 510, an employee must demonstrate (1) prohibited
employer conduct (2) taken for the purpose of interfering (3) with the attainment of any right to which
the employee may become entitled." Gavalik v. Cont'l Can Co. , 812 F.2d 834, 852 (3d Cir. 1987). "[T]
he essential element of proof under § 510 is specific intent to engage in proscribed activity." Id . 851; see
also Jakimas v. Hoffmann-LaRoche, Inc. , 485 F.3d 770, 785 (3d Cir. 2007) ("a plaintiff must
demonstrate that the defendant had the specific intent' to violate ERISA"). Proof of specific intent "can
be demonstrated through direct or circumstantial evidence, because the smoking gun' evidence may be
rare." Id . (citing Gavalik , 812 F.2d at 852). This means that, at the motion to dismiss stage, "[i]t is
sufficient to plead facts that, when taken as true, constitute circumstantial evidence of the employer's
specific intent to interfere with the ERISA plan." Stabile v. Allegheny Ludlum, LLC, No. 12-168, 2012
U.S. Dist. LEXIS 126703, at *27 (W.D. Pa. Sept. 6, 2012); see also Pailleret v. Jersey Constr., Inc., No.
09-1325, 2010 U.S. Dist. LEXIS 2313 (D.N.J. Jan. 11, 2010).

       According to Schueneman, Plaintiff has failed to plead facts showing specific intent - the
Complaint contains no allegations that Schueneman had a mindset to prevent Mr. Woerner from
obtaining any benefit and does not allege that Schueneman held any "animosity owing to Mr. Woerner's
illness or his work status." (Def.'s Moving Br. 10) The Court agrees. In opposition, Plaintiff only points
to allegations made "upon information and belief." For example, the Complaint alleges upon information
and belief that Schueneman knew Mr. Woerner would have to work at least one day in 2012 in order to
qualify for supplemental life insurance. While specific intent may be shown by circumstantial evidence,
Plaintiff cannot survive a motion to dismiss by offering only conclusory, unsupported allegations made
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upon information and belief. Such allegations, without more, fail to demonstrate Plaintiff's plausible
entitlement to relief. Therefore, the Court will dismiss the claim against Schueneman for illegal statutory
interference without prejudice.

         III. CONCLUSION

     For the foregoing reasons, Schueneman's motion to dismiss the complaint will be granted in part
and denied in part. An appropriate order accompanies this opinion.

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Notes:

[1] The Complaint contains the following counts: (1) ERISA equitable estoppel; (2) ERISA equitable relief for material

misrepresentation; (3) violation of ERISA breach of fiduciary duties; (4) violation of ERISA co-fiduciary duties; and (5)
violation of ERISA statutory illegal interference.

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                          EXHIBIT 4
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TexasLDPC Inc. v. Broadcom Inc., 031820 DEDC, C. A. 18-1966-RGA

                                        TEXASLDPC INC., Plaintiff,

                                                        v.

BROADCOM INC., LSI CORPORATION and AVAGO TECHNOLOGIES U.S., INC. Defendants.

                                       Civil Action No. 18-1966-RGA

                                 United States District Court, D. Delaware

                                                March 18, 2020

      MEMORANDUM ORDER

      RICHARD G. ANDREWS, UNITED STATES DISTRICT JUDGE

     Plaintiff TexasLDPC Inc. brought this action for patent and copyright infringement against
Defendants Broadcom Inc., LSI Corp., and Avago Technologies U.S., Inc. Currently before me is
Defendants' Motion to Dismiss. (D.I. 27). The matter has been fully briefed. (D.I. 28, 31, 33). I heard oral
argument on March 11, 2020. The motion is granted with respect to the copyright claims and Wi-Fi
patent claims, but it is otherwise denied.

      I. LEGAL STANDARD

      When reviewing a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), the
Court must accept the complaint's factual allegations as true. See Bell Atl. Corp. v. Twombly, 550 U.S.
544, 555-56 (2007). Rule 8(a) requires "a short and plain statement of the claim showing that the pleader
is entitled to relief." Id. at 555. The factual allegations do not have to be detailed, but they must provide
more than labels, conclusions, or a "formulaic recitation" of the claim elements. Id. ("Factual allegations
must be enough to raise a right to relief above the speculative level... on the assumption that all the
allegations in the complaint are true (even if doubtful in fact).").

      Moreover, there must be sufficient factual matter to state a facially plausible claim to relief.
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The facial plausibility standard is satisfied when the
complaint's factual content "allows the court to draw the reasonable inference that the defendant is liable
for the misconduct alleged." Id. ("Where a complaint pleads facts that are merely consistent with a
defendant's liability, it stops short of the line between possibility and plausibility of entitlement to relief")
(cleaned up).

      II. DISCUSSION

      A. Copyright Claims

      Plaintiffs copyright claims are based on software code developed by Dr. Kiran Gunnam. According
to the amended complaint, Dr. Gunnam was an employee of Texas A&M University in 2007 and 2008
when he developed three computer programs, which all relate to "Low-Density Parity Check" (LDPC)
algorithms. (D.I. 9, "Amended Complaint," ¶¶ 32-38). Plaintiff asserts it has an exclusive license to those
works, including the right to sue for infringement. (Id. ¶ 38).

      Defendant LSI hired Dr. Gunnam in 2008. (Id. ¶ 46). Plaintiff claims Dr. Gunnam shared parts of
his copyrighted LDPC works with LSI, but he warned the company it needed to obtain a license from
Texas A&M. (Id. ¶¶ 47-48). Plaintiff alleges Madhu Kalluri, an LSI circuit designer, "was directed to
rewrite [Gunnam's code], while maintaining the same basic program structure and logic." (Id. ¶ 51). This
new code, according to the complaint, was at least a derivative work of the original code. (Id.). Plaintiff
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alleges Defendants used Gunnam's code or derivative works of that code in the engineering and design of
their products without ever obtaining a license. (Id.).

      I do not find these allegations are sufficient to state a claim under Rule 12(b)(6). Plaintiffs key
factual contention is that Defendants produced programs that have "the same basic program structure and
logic" as the asserted copyrights. That, however, is not enough to allege infringement. "It is axiomatic
that copyright does not protect ideas, but only expressions of ideas." Whelan Assocs., Inc. v. Jas!ow
Dental Lab., Inc., 797 F.2d 1222, 1234 (3d Cir. 1986). Thus, not all elements of software code are
protectable by copyright. Id. at 1239. Plaintiff has failed to identify what "basic program structure and
logic" Defendants copied or to provide other facts about the accused software that could support an
inference that it infringes copyrightable elements. It is unclear whether Plaintiff is alleging infringement
under the "substantial similarity" test, but without more facts about the asserted and accused works, it is
impossible to compare their similarity or infer infringement.

       Levey v. Brownstone Inv. Grp., LLC is instructive here. 590 Fed.Appx. 132 (3d Cir. 2014). In that
case, the plaintiff claimed that, after a software license expired, the defendant continued to use software
that had "the same capabilities" as the licensed software. Id. at 136. The court held "[t]hat is simply not
enough to infer that" the defendant was still using the protected software as opposed to some other
product. "Nor can we infer substantial similarity from those facts, which, at most, tell us that the two
programs share a common purpose or function." Id. Like Plaintiff here, the plaintiff in Levey did not
"provide[] . . . any detail about [the defendant's] software, let alone [the asserted software], in regard to
their look and feel, structure, sequence, organization, or other potentially expressive and copyrightable
elements." Id. at 136-37. Therefore, the court concluded, "It would be implausible" to find infringement.
Id. at 137. Similarly here, the allegation that the programs share "basic program structure and logic" is
not enough to support a plausible inference of infringement.

     B. Wi-Fi Patent Claims

      Plaintiff has failed to adequately state a claim of patent infringement with regard to Defendants' Wi-
Fi products. Plaintiff states that Broadcom chipsets support two engineering standards, 802.1 lac and
802.1 lad, and that those standards incorporate designs from U.S Patent No. 8, 341, 488 ('488 patent).
(Amended Complaint ¶¶ 98-99). According to the complaint, that patent in turn describes architecture
which "would, if operated, practice the inventions described" in Plaintiffs asserted patent claims. (Id. ¶
99).

       Plaintiff, however, has not provided any facts to explain why practicing the invention of the '488
patent would infringe Plaintiffs asserted patents. Plaintiff has not clearly identified which Broadcom Wi-
Fi products it is accusing and has made no effort to compare those products to the asserted claim
elements. Such "threadbare recitals of a cause of action's elements, supported by mere conclusory
statements" are not enough to survive a motion to dismiss. Iqbal, 556 U.S. at 129 (2009). The allegations
as to the Wi-Fi products do not meet the minimal requirements of Federal Circuit precedent. See Disc
Disease Solutions, Inc. v. VGH Solutions, Inc., 888 F.3d 1256 (Fed. Cir. 2018).

     C. Other Patent Claims

      Plaintiff has provided sufficient factual support for its other patent claims to survive Defendants'
Rule 12(b)(6) motion. For the accused products other than the Wi-Fi products, Plaintiff provides
technical mappings and alleges the products meet each and every element of at least one of the asserted
patent claims. (See Amended Complaint ¶¶ 105-28, 138-61, 169-91, 199-215, 223-59, 270-93). That is
enough to state a claim of patent infringement under the standard set by the Federal Circuit. In Disc
Disease, the Federal Circuit found a complaint was sufficient because it "specifically identified the three
accused products" and alleged that those products met "each and every element of at least one claim" of
the asserted patent, "either literally or equivalently." 888 F.3d 1256, 1260 (Fed. Cir. 2018). Plaintiffs
technical mapping of representative products here exceeds that standard.

     The complaint identifies the accused products (other than the Wi-Fi products) as the Hard Disk
Controller Products, SandForce Products, and the Densbits Products. (Amended Complaint ¶ 100).
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Plaintiff largely identifies these products by describing their features, rather than by naming exact model
numbers. That does not prevent its claims from moving forward, however. The Federal Circuit has held
that, at the motion to dismiss stage, a plaintiff need not "identify an accused device by name," especially
when the "operation of the systems is not ascertainable without discovery." K-Tech Telecommunications,
Inc. v. Time Warner Cable, Inc., 714 F.3d 1277, 1286 (Fed. Cir. 2013).

     D. Leave to Amend

     "Motions to amend under Rule 15 are typically granted liberally, and a court may deny leave to
amend only when (1) the moving party has demonstrated undue delay, bad faith or dilatory motives, (2)
the amendment would be futile, or (3) the amendment would prejudice the other party." Wolflngton v.
Reconstructive Orthopaedic Assocs. II PC, 935 F.3d 187, 210 (3d Cir. 2019) (cleaned up).

    Because none of those conditions have been shown here, I grant Plaintiff leave to amend its
complaint.

     III. Conclusion

     For the reasons stated, Defendants' motion to dismiss for failure to state a claim (D.I. 27) is
GRANTED with respect to the Wi-Fi products and the copyright claims (Counts VII, VIII, and IX of the
complaint). The motion is DENIED with respect to all other counts (and with respect to the facial attack
on Plaintiffs standing to bring this case, which I ruled on at oral argument). Plaintiff is GRANTED leave
to amend its complaint. If Plaintiff does not file a second amended complaint within fourteen days, the
case will proceed on what remains of the first amended complaint.
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                          EXHIBIT 5
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                                      GORDON LEVEY, Plaintiff,

                                                     v.

                 BROWNSTONE INVESTMENT GROUP, LLC, et al., Defendants.

                                       Civil Action No. 11-395 (ES)

                              United States District Court, D. New Jersey.

                                               June 26, 2013

      OPINION

      ESTHER SALAS, District Judge.

     I. Introduction

     Pending before the Court is Defendants Brownstone Investment Group, LLC ("Brownstone"),
Douglas B. Lowey ("Lowey"), and Barret P. Naylor's ("Naylor") (collectively, "Defendants") motion to
dismiss Plaintiff Gordon Levey's ("Levey" or "Plaintiff") Third Amended Complaint ("TAC") for lack of
personal jurisdiction under Federal Rule of Civil Procedure 12(b)(2), improper venue pursuant to Federal
Rule of Civil Procedure 12(b)(3), and for failing to state a claim upon which relief can be granted under
Federal Rule of Civil Procedure 12(b)(6). (D.E. No. 74). Also pending before this Court is Plaintiff's
motion to file a sur-reply. (D.E. No. 85). The Court has considered the briefs submitted in support of and
in opposition to the present motions, and decides the motions without oral argument pursuant to Federal
Rule of Civil Procedure 78(b). For the reasons set forth below, the Court grants Defendants' motion to
dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) and dismisses Plaintiff's TAC with
prejudice.[1] The Court further denies Plaintiff's motion for leave to file a sur-reply.

     II. Jurisdiction

      Plaintiff frames his TAC as a "violat[ion] of the United States Copyright Law, 17 U.S.C. § 101, et
seq. " (D.E. No. 73, TAC ¶ 18). Accordingly, subject matter jurisdiction is proper under 28 U.S.C. § 1338
(a). See Zuk v. E. Pa. Psychiatric Inst. of the Med. College of Pa., 103 F.3d 294, 296 n.1 (3d Cir. 1996)
("The lawsuit... alleged violations of... federal copyright law, and the district court thus had jurisdiction
pursuant to 28 U.S.C. § 1338, which confers exclusive original jurisdiction over copyright cases.").

     III. Background

      As the Court writes solely for the parties who are thoroughly familiar with the underlying issues
relating to Defendants' motion to dismiss, the Court limits its discussion to the salient facts and
procedural history.

      This matter stems from an alleged violation of copyright law in which Plaintiff has now had three
opportunities to amend his complaint. ( See D.E. Nos. 27, 56 & 73, respectively, Amended Complaint,
Second Amended Complaint ("SAC") & TAC). This Court has issued two opinions dismissing Plaintiff's
complaints for failure to state a prima facie case for copyright infringement, Levey v. Brownstone Inv.
Grp., LLC, No. 11-395, 2012 WL 295718 (D.N.J. Feb. 1, 2012), and for failure to allege a claim for
copyright infringement that was not time barred, (D.E. No. 71, Opinion, Sept. 14, 2012). In the latter
opinion, this Court afforded Plaintiff "one last opportunity to sufficiently plead a cause of action for
copyright infringement because Plaintiff... averred that Defendants' illegal violation of our copyright laws
continued today, "-the filing date of the SAC. (Id. at 7 (citation omitted & internal quotation marks
omitted)).
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      On September 24, 2012, Plaintiff filed his TAC. (D.E. No. 73). Plaintiff alleges that he authored
software referred to as "Levtek a/k/a Brownstone Live and Brownstone Trading System" and that he
provided an oral license to Brownstone as long as he was affiliated with Brownstone. (TAC ¶ 8). Plaintiff
asserts that he registered Levtek with the United States Copyright Office on June 9, 2011. (Id. at ¶11
(citing Ex. A, Copyright Registration No. TXU001759286 ("Levtek Registration"))). Plaintiff further
alleges that Defendants used the "copyright and software without Plaintiff's knowledge or consent." (Id.
at ¶ 10).

      Additionally, Plaintiff avers that he did not have access to information from January 2006 to the
present "regarding the internal workings of Defendants[] or the use of the... copyrighted materials... other
than what was disclosed pursuant to Court Ordered Stipulation in an ongoing Delaware Chancery Court
[case]" and in litigation involving the Financial Industry Regulatory Authority ("FINRA"). (Id. at ¶ 15).
Plaintiff asserts that he had access to limited discovery over the value of his ownership interest in the
Delaware action. (Id. ). In the FINRA litigation, Plaintiff claims that he was not privy to information
about the alleged copyright infringement other than the representation that Defendants "had ceased all
use of all software at issue." (Id. ).

      Plaintiff now alleges that he first discovered that Defendants infringed on his copyright at an
industry convention in June 2011. (Id. at ¶ 16). Specifically, Plaintiff avers that he spoke to Brian Lane
("Lane")-a Sales Director for a company known as Codestreet-who made a sales pitch on the Codestreet
software system, which had some of the same capabilities that Plaintiff's software offered. (Id. ). Plaintiff
also alleges that Lane told him that "3-6 months ago, " he met with John Sablowsky, a head trader at
Brownstone, who said, "they had all of what CodeStreet has to offer[] in a proprietary system that they
have had for years and have been using for years and years." (Id. ). Plaintiff asserts that the system that
Sablowsky was referring to is his system. (Id. ).

      Defendants' motion to dismiss and Plaintiff's motion for leave to file a sur-reply are now ripe for
this Court's adjudication.

     IV. Legal Standard

       Federal Rule of Civil Procedure 8(a)(2) requires a complaint to set forth "a short and plain
statement of the claim showing that a pleader is entitled to relief." The pleading standard announced by
Rule 8 does not require detailed factual allegations; however, it does demand "more than an unadorned,
the-defendant-unlawfully-harmed-me accusation." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal
citation omitted). In addition, the plaintiff's short and plain statement of the claim must "give the
defendants fair notice of what the... claim is and the grounds upon which it rests." Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 545 (2007).

       For a complaint to survive dismissal, it "must contain sufficient factual matter, accepted as true, to
state a claim to relief that is plausible on its face.'" Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at
570). A claim has facial plausibility when "the plaintiff pleads factual content that allows the court to
draw the reasonable inference that the defendant is liable for the misconduct alleged." Id. (internal
citation omitted). "The plausibility standard is not akin to a probability requirement, ' but it asks for more
than a sheer possibility that a defendant has acted unlawfully." Id.

      In evaluating the sufficiency of a complaint, a court must accept all well-pleaded factual allegations
contained in the complaint as true and draw all reasonable inferences in favor of the non-moving party.
See Phillips v. Cnty. of Allegheny, 515 F.3d 224, 234 (3d Cir. 2008). But, "the tenet that a court must
accept as true all of the allegations contained in a complaint is inapplicable to legal conclusions, " and
"[a] pleading that offers labels and conclusions' or a formulaic recitation of the elements of a cause of
action will not do.'" Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555).

      Furthermore, a district court deciding a motion to dismiss generally does not consider material
beyond the pleadings. In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997).
"[When] deciding a Rule 12(b)(6) motion, a court must consider only the complaint, exhibits attached
[thereto], matters of the public record, as well as undisputedly authentic documents if the complainant's
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claims are based upon these documents." Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir. 2011); see also
In re Burlington Coat Factory Secs. Litig., 114 F.3d at 1426 ("[A]n exception to the general rule is that a
document integral to or explicitly relied upon in the complaint may be considered without converting the
motion [to dismiss] into one for summary judgment.") (emphasis in original) (citation omitted & internal
quotation marks omitted).

    "[I]f a complaint is subject to a Rule 12(b)(6) dismissal, a district court must permit a curative
amendment unless such an amendment would be inequitable or futile." Phillips, 515 F.3d at 245.

     V. Analysis

      a. Request To File A Sur-reply Is Denied

     As a preliminary matter, this Court must decide whether to allow Plaintiff to file a sur-reply that
seeks to submit an audio recording of a conversation between Plaintiff and Lane that Plaintiff secretly
recorded, as well as Lane's sworn affidavit.[2] (D.E. No. 85).

       Sur-replies may not be submitted without the permission from the Court, and permission is
generally denied where the record and prior submissions are deemed sufficient. L. Civ. R. 7.1(d)(6). This
district has allowed sur-replies to address a new issue in the "interest of completeness, " for "complicated
and novel legal questions, " or for unusual circumstances. See, e.g., Christion v. Pressler & Pressler, LLP,
No. 07-1938, 2010 WL 988547, at *2 n.3 (D.N.J. Mar. 12, 2010); United States v. Lane Labs-USA, 324 F.
Supp.2d 547, 563 (D.N.J. 2004); Arcand v. Brother Int'l Corp., 673 F.Supp.2d 282, 290 (D.N.J. 2000).
But, the Court may not consider supplemental factual allegations that are submitted in opposition to a
motion to dismiss because such documents do not constitute pleadings under Rule 7(a). Pennsylvania ex.
rel . Zimmerman v. PepsiCo, Inc., 836 F.2d 173, 181 (3d Cir. 1988) ("It is axiomatic that the complaint
may not be amended by the briefs in opposition to a motion to dismiss."); see also McMahon v. Gen.
Dynamics Corp., No. 12-4994, 2013 WL 1164850, at *13 (D.N.J. Mar. 30, 2013) (finding that court may
not consider supplemental factual allegations made by Plaintiff in a certification).

      Here, Plaintiff seeks to amend his allegations in the TAC by submitting an audio recording and non-
party affidavit. This Court will not allow Plaintiff to amend his TAC in a sur-reply. See Pennsylvania ex.
rel. Zimmerman, 836 F.2d at 181.[3] Accordingly, Plaintiff's motion for leave to file sur-reply is denied.

      b. Copyright Infringement Claim Is Not Time Barred

      The Court must now determine whether Plaintiff's claim for copyright infringement is time-barred.
Defendants argue that Plaintiff has abandoned his claim that Defendants' alleged copyright infringement
continues through today in the TAC. (D.E. No. 74-2, Memorandum of Law in Support of Defendants'
Brief in Support of its Motion to Dismiss the TAC ("Def. Br.") 7). Therefore, Defendants contend that
Plaintiff fails to allege, even in general terms, the sole basis that the Court provided leave to file a Third
Amended Complaint. (Id. at 6-7).

       The Copyright Act provides that "[n]o civil action shall be maintained under the provisions of this
title unless it is commenced within three years after the claim has accrued." 17 U.S.C. § 507(b). A claim
"accrues when the plaintiff discovers, or with due diligence should have discovered, the injury that forms
the basis for the claim.'" William A. Graham Co. v. Haughey, 568 F.3d 425, 438 (3d Cir. 2009) (quoting
Disabled in Action v. SEPTA, 539 F.3d 199, 209 (3d Cir. 2008)). "Applying that precept here, [this Court
must] ask whether [the plaintiff] should have known of the basis for [his] claim[] [, which] depends on
whether [he] had sufficient information of possible wrongdoing to place [him] on inquiry notice or to
excite storm warnings of culpable activity." Id. (internal citation & quotation marks omitted).

      In dismissing the SAC, the Court afforded Plaintiff one last opportunity to sufficiently plead a
cause of action for copyright infringement because Plaintiff averred that "[Defendants'] illegal violation
of our copyright laws continue through today." ( See D.E. No. 71 at 7 (citing SAC ¶ 18)); see also
William A. Graham Co., 568 F.3d at 433 ("[E]ach act of infringement is a distinct harm giving rise to an
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independent claim for relief[.]"). In the operative complaint, Plaintiff did not include his previous
allegation that Defendants' copyright infringement continues through today, but instead, now avers that
he did not have notice of possible copyright violations until June 2011.[4] (TAC ¶¶ 16-17 (alleging "he
was unaware of Defendants [sic] use of said copyright software system, until the [June 2011]
coincidental meeting at the aforesaid Convention")). Thus, this Court finds that Plaintiff's claim is not
time-barred as pled in his TAC because he alleges that he discovered the copyright infringement in June
2011, which date falls within three years of the filing of the TAC on September 24, 2012.

      c. The TAC Fails To State A Claim for Copyright Infringement

      The Court now turns to whether Plaintiff states a valid claim for copyright infringement. In support
of their motion to dismiss, Defendants contend that Plaintiff fails to meet Rule 8's requirements. (Def. Br.
8). Defendants argue that Plaintiff fails to "allege any actual infringement by Defendants" and, instead,
"leaps to the conclusion that [Defendants are] using Plaintiff's alleged proprietary system because a non-
party allegedly advised Plaintiff that [Defendants'] purported unidentified system has similarities to a
completely separate system used by [the non-party]." (Id. at 8-9). By Plaintiff's own admission,
Defendants aver that Plaintiff has no "information regarding the internal workings of Defendants, or the
use of the aforesaid copyrighted materials" and, therefore, cannot state a prima facie case. (Id. at 9).

      Plaintiff argues that Defendants have conceded that Plaintiff satisfied the first three Gee factors and
that Defendants only take issue with the fourth factor, namely that he has "failed to specify by what acts
the Defendants infringed upon [his] copyright." (D.E. No. 77, Memorandum of Law of Plaintiff Gordon
Levey ("Pl. Br.") 6 (citing Gee v. CBS, Inc., 471 F.Supp. 600, 643 (E.D. Pa.), aff'd, 612 F.3d 572 (3d Cir.
1979)).[5] As to the fourth factor, Plaintiff concedes that he "cannot provide further information in his
copyright infringement claim, " but that like the plaintiff in Leaf, Inc. v. Burdeen, No. 95-5959, 1996 WL
89070 (N.D. Ill. Feb. 28, 1996), Plaintiff contends that the motion to dismiss should be denied and he
should be allowed proper discovery. (Id. at 7-10).

      To state a claim for copyright infringement pursuant to Rule 8, a plaintiff must adequately allege:
(1) "which specific original work is the subject of the copyright claim, " (2) "that plaintiff owns the
copyright, " (3) "that the work in question has been registered in compliance with the statute, " and (4)
"by what acts and during what time defendant has infringed the copyright." Gee, 471 F.Supp. at 643; see
also Bradshaw v. Am. Inst. For History Educ., No. 12-1367, 2013 WL 1007219, at *3 (D.N.J. Mar. 13,
2013); Hanover Arch. Serv., P.A. v. Christian Testimony-Morris, N.P., No. 10-5455, 2011 WL 6002045,
at *5 (D.N.J. Nov. 29, 2011); Fed.R.Civ.P. Form 19 (providing generic complaint for alleging copyright
infringement and including allegations that describe, inter alia, the specific infringing acts by the
defendant).[6]

      This Court is persuaded that Plaintiff's allegations have failed to meet the minimal Rule 8 burden.
Plaintiff sufficiently satisfies the first and second factors by alleging that he is the "sole author" of his
original software known as "Levtek a/k/a Brownstone Live and Brownstone Trading System." (TAC ¶ 8
(internal quotation marks omitted)). The Court also finds that Plaintiff has satisfied the third factor by
registering that copyright in compliance with the statute and attaching a copy of the "Levtek Trading
System" copyright registration.[7] (TAC ¶¶ 11-13, Ex. A).

      However, Plaintiff has not demonstrated by what specific acts and during what time Defendants
infringed the copyright. The Court agrees that Plaintiff's allegation of infringement rests on speculation:
(1) Defendants' "unnamed proprietary system' has some of the same features as [non-party] Codestreet's
software system; (2) Plaintiff's alleged copyrighted software "has some of the same capabilities as
Codestreet's software system, " and (3) therefore, Brownstone must be infringing upon Plaintiff's
purported copyrighted software. (D.E. No. 78, Defendants' Reply Brief in Support of its Motion to
Dismiss the TAC ("Def. Reply Br.") 4-5). Plaintiff relies on one conversation that allegedly took place
between him and a non-party in which Plaintiff recalls that the non-party recounted a conversation with a
Brownstone head trader who purported said the Brownstone software had some features like the non-
party's software. (TAC ¶ 16). Aside from this allegation, Plaintiff acknowledges that he "had no access to
information regarding the internal workings of Defendants, or the use of the aforesaid copyrighted
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materials." (Id. at ¶ 15). Indeed, Plaintiff admits that he offers nothing more and requests discovery. (Pl.
Br. 7-10).

      Thus, Plaintiff's factual and conclusory allegations do not "raise a right to relief above the
speculative level." Twombly, 550 U.S. at 555; compare Stampone v. Stahl, No. 05-1921, 2005 WL
1694073, at *2 (D.N.J. July 19, 2005) (finding that alleging that "by not returning the disk, [the
defendant] was using it to steal and reproduce [the] plaintiff's artwork, " the allegation was "too broad
and sweeping to satisfy Rule 8'" and the plaintiff failed to allege any specific acts or times for
infringement), with Bradshaw, 2013 WL 1007219, at *4 (stating that a bald assertion was not enough to
satisfy the final element, but where the complaint offered a correlation chart that described the
similarities between the items, it was just enough to allege infringing acts). Plaintiff's TAC is devoid of
any factual allegations of how the software systems are similar, much less any allegations of specific acts
or times of infringement. Accordingly, the Court is convinced that Plaintiff has not stated a plausible
claim for copyright infringement.[8]

      Because Plaintiff has now had four opportunities to draft a plausible claim for copyright
infringement, but has been unable to specify a single act of infringement by Defendants under Rule 8's
pleading requirements, this Court will exercise its discretion in dismissing with prejudice. See Barnard v.
Verizon Commc'ns, Inc., 451 F.Appx. 80, 87 (3d Cir. 2011), cert. denied, 132 S.Ct. 2107 (2012) (finding
it was not an abuse of discretion to deny leave for a curative amendment that would be futile where
plaintiff "presented only claims that were well below governing pleading standards" even after being
granted two opportunities to file amended complaints). Here, Plaintiff has not availed himself of the
numerous opportunities to plead sufficient facts to allege a plausible copyright infringement claim.

         VI. Conclusion

     For the foregoing reasons, Defendant's motion to dismiss Plaintiff's Third Amended Complaint is
granted with prejudice. An appropriate Order shall follow.

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Notes:

[1] Since this Court dismisses Plaintiff's TAC for failure to state a claim upon which relief can be granted, it declines to address

Defendants' alternative arguments for dismissal. See JAKKS Pac., Inc. v. Conte, No. 11-479, 2011 WL 6934856, at *1 n.2 (D.
N.J. Dec. 30, 2011) (citation omitted) ("Since the Court dismisses Plaintiff's Complaint for lack of personal jurisdiction, it
declines to address Defendants' alternative arguments, i.e., dismissal for improper venue as well as transfer for the convenience
of the parties and witnesses.").

[2] This Court notes that Plaintiff filed another sur-reply on December 5, 2012, (D.E. No. 79), which this Court struck because

Plaintiff filed same without leave of Court, (D.E. No. 83). Thereafter, Plaintiff filed a motion for leave to file a sur-reply on
January 14, 2013. (D.E. No. 84). Four days later, Plaintiff withdrew this motion and filed the instant motion for leave to file a
sur-reply, claiming that he was now in possession of Lane's sworn affidavit. (D.E. No. 85). On June 19, 2013, this Court
terminated Plaintiff's January 14, 2013, motion for leave to file a sur-reply as withdrawn. (D.E. No. 93).

[3] This Court further finds that Plaintiff's sur-reply seeks to introduce additional factual allegations that are either duplicative

or contrary to Plaintiff's pled allegations. First, Plaintiff seeks to bolster his allegation concerning his conversation with Lane
by submitting an audio recording of a telephone conversation that purportedly took place on December 3, 2012 in which Lane
recalled a conversation that Plaintiff had with Lane at the 2011 convention. (D.E. No. 85, Memorandum of Law of Plaintiff
Gordon Levey ("Sur-reply Br.") 7). By Plaintiff's own admission, this recording seeks to "confirm all facts alleged in the
[TAC]." (Id. ). Because this Court must accept Plaintiff's factual allegations as true on a motion to dismiss, and this audio
recording does not add any new facts to the allegation in paragraph 16 of the TAC, this Court is further convinced that it
should not consider the audio recording. Second, this Court is perplexed as to why Plaintiff would seek to submit Lane's sworn
affidavit, which as Defendants point out, plainly contradicts Plaintiff's core allegations in the TAC. (D.E. No. 87, Defendants'
Brief in Response to Plaintiff's Motion to File Sur-reply ("Defs. Sur-reply Br.") 3-4). However, as this Court has already
explained, Plaintiff is not permitted to amend his allegations by submitting an affidavit in opposition to the motion to dismiss.
See Pennsylvania ex. rel. Zimmerman, 836 F.2d at 181.
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[4] The Court recognizes that Plaintiff has taken inconsistent positions on when he first became aware of the alleged copyright

infringement. On the one hand, Plaintiff brought his initial lawsuit on January 21, 2011. (D.E. No. 1). On the other hand, he
now claims that he did not become aware of the alleged infringement until 5 months after he filed his complaint that
purportedly gave rise to his claim-June 2011. (TAC ¶¶ 16-17). The Court further observes that Plaintiff previously alleged
contradictory dates of when his claim accrued. In the SAC, Plaintiff alleged that he was put on notice of the alleged
wrongdoing in January 2006 and in another paragraph in May 2008. ( See D.E. No. 71 at 3 (citing SAC ¶¶ 10, 16)). But, the
TAC supersedes the SAC, and the facts in the prior complaints no longer bind Plaintiff. See W. Run Student Hous. Assocs.,
LLC v. Huntington Nat'l Bank, 712 F.3d 165, 171-73 (3d Cir. 2013). Furthermore, in his brief, Plaintiff asserts that
"Defendants' copyright infringement continues to this day." (Pl. Br. 4 (citing TAC ¶¶ 9-19)). However, Plaintiff misleads the
Court because the allegations in ¶¶ 9-19 do not state that the infringement continues to this day. Again, this Court will not
allow Plaintiff to amend his complaint by submitting new facts in opposition to the motion to dismiss. See Pennsylvania ex. rel.
Zimmerman, 836 F.2d at 181.

[5] Because Plaintiff's brief does not include page numbers, this Court cites to the page number generated by the docket entry.


[6] This Court recognizes that other courts in this Circuit have held that to state a cause of action for copyright infringement, a

Plaintiff must allege two factors: (1) ownership of the copyright, and (2) copying by the defendant. See Bradshaw, 2013 WL
1007219, at *3 (noting that ownership of the copyright has been pled by alleging facts that a certification of a registration has
been obtained, and that copying by the defendant has been pled with facts that the defendant had access to the copyrighted
work and that the two works bear substantial similarities). Recently, this district further explained in Bradshaw that: (1) these
two broad factors nevertheless "entail certain specific pleading requirements" set forth in Gee; (2) "recent decisions from this
Circuit have embraced Gee 's more detailed pleading standard;" and (3) that "this view finds further support in Form 19 of the
Federal Rules of Civil Procedure." Accordingly, this Court is persuaded that the more stringent standard in Gee applies to
copyright infringement claims to be sufficient under Rule 8.

[7] Defendant argues that Plaintiff has not previously asserted a copyright infringement claim for the "Brownstone Trading

System, " and that Plaintiff has not alleged that he registered the Brownstone Trading System or that Brownstone Trading
System is a derivative work of Levtek. (Def. Br. 3 n.2). But, Plaintiff alleges that he was the legitimate author of "Levtek and
Brownstone Live and/or Brownstone Trading System." (TAC ¶ 10) (formatting altered & emphasis added); see also id. at ¶ 8
(stating "Levtek a/k/a Brownstone Live") (internal quotation marks omitted). Additionally, citing to the Levtek registration,
Plaintiff alleges that he has "legitimate authorship and copyright interest in certain software - Levtek and Brownstone Live and
Brownstone Trading System and has registered that copyright." (Id. at ¶ 13 (citing Ex. A) (formatting altered)). Viewing these
facts in the light most favorable to Plaintiff and drawing all reasonable inferences in favor of Plaintiff, this Court will accept
these allegations to purport that Brownstone Live and Brownstone Trading System are derivative works of the underlying
copyrighted work, i.e., Levtek. ( See D.E. No. 71 at 5 n.4).

[8] Even holding Plaintiff to the broader standard, Plaintiff has not alleged how the two software programs bear " substantial

similarities" based on a vague conversation with a non-party. See Bradshaw, 2013 WL 1007219, at *3 (emphasis added); supra
n.6 at 10. Without more detail, this Court cannot conclude that Plaintiff has stated a plausible claim. Additionally, the Court
will deny Plaintiff's request for discovery. See Obgin v. GE Money Bank, No. 10-5651, 2011 WL 2436651, at *4 n.3 (D.N.J.
Jun. 13, 2011) ("A plaintiff's request for discovery cannot serve as a basis to deny a defendant's motion to dismiss, as the filing
of such a motion serves to protect a defendant from being subjected to discovery, during which a plaintiff hopes that facts will
be unearthed to support plaintiff's speculation."); Giovanelli v. D. Simmons Gen. Contracting, No. 09-1082, 2010 WL 988544,
at *5 (D.N.J. 2010) ("Discovery... cannot serve as a fishing expedition through which plaintiff searches for evidence to support
facts he has not yet pleaded."). The Court need not distinguish Leaf, Inc., a case from a foreign jurisdiction, but will note that,
there, the plaintiff was able to specifically plead enough facts on when the infringement occurred, how it occurred, and the
amount of damages. 1996 WL 89070 at *1.

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                          EXHIBIT 6
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                                         VIANIX LLC, Plaintiff,

                                                     v.

                          NUANCE COMMUNICATIONS, INC., Defendant.

                                           C.A. No. 09-348-JJF

                           United States District Court, District of Delaware

                                               July 20, 2010

      Peter C. Schechter, Esquire of EDWARDS ANGELL PALMER & DODGE LLP, New York, New
York, Denise Seastone Kraft, Esquire of EDWARDS ANGELL PALMER & DODGE LLP, Wilmington,
Delaware, Attorneys for Plaintiff.

      Faith Gay, Esquire; Jeffrey A. Conciatori, Esquire; Robert C. Juman, Esquire; and Benjamin W.
Thorn, Esquire of QUINN EMANUEL URQUHART OLIVER & HODGES, LLP, New York, New
York, Daniel A. Dreisbach, Esquire; Jeffrey L. Moyer, Esquire; and Anne Shea Gaza, Esquire of
RICHARDS, LAYTON & FINGER, P.A., Wilmington, Delaware, Attorneys for Defendants.

      MEMORANDUM OPINION

      Fernan, District Judge.

     July Wilmington, Delaware Pending before the Court is Defendant Nuance Communications, Inc.'s
Motion To Dismiss (D.I. 5.) For the reasons to be discussed, this Motion will be denied.

     I. Background

      Plaintiff Vianix LLC ("Plaintiff") initiated this copyright infringement action against Defendant
Nuance Communications, Inc. ("Defendant") on May 13, 2009. (D.I. 1.) The parties' dispute stems from a
Technology License Agreement (the "Agreement") entered into by Dictaphone Corporation[1] and Vianix
Delaware LLC, [2]effective January 23, 2009, which concerned the licensing of Plaintiff's Managed
Audio Sound Compression Technology[3] ("MASC Technology"). (Id. ¶¶ 18-19.) Plaintiff is the owner
of U.S. Copyright Registrations for four computer programs (collectively, the "Subject Works") alleged
to embody MASC Technology. (Id. ¶ 16.) Generally speaking, the Agreement gave Defendant a license
to use MASC Technology in connection with Defendant's products, and to use MASC Technology for
certain internal purposes. (D.I.8, at 5.)

       For reasons which need not be addressed in the context of this Motion, Plaintiff came to believe
that Defendant was in breach of the Agreement. Accordingly, Vianix Delaware filed a breach of contract
action against Defendant in the Delaware Court of Chancery on June 2, 2008. (D.I. 1 ¶¶ 34-45, 49.) By
letter dated September 22, 2008, pursuant to the "for cause" provision of the Agreement, Vianix
Delaware terminated the Agreement effective December 21, 2008. (Id. ¶ 50; D.I. 8, at 6.) On January 27,
2009, Vianix Delaware brought suit against Defendant in this District alleging copyright infringement.[4]
The Honorable Noel L. Hillman dismissed the suit on May 12, 2009, finding that the Court lacked
subject matter jurisdiction because Vianix Delaware had no standing to sue for copyright infringement.
(D.I. 7, Thorn Decl., Ex. M.) Specifically, Vianix Delaware was not the owner of the copyrights alleged
to be violated, nor did it have a beneficial interest in the copyrights, and therefore, the Court concluded
Vianix Delaware did not suffer an invasion of a legally protected interest. (Id.) Plaintiff initiated the
present copyright infringement action against Defendant the next day, May 13, 2009.
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     By its Complaint in the present action, Plaintiff alleges that, post-termination of the Agreement,
Defendant has infringed and continues to infringe Plaintiff s copyright interests relating to the Subject
Works by "archiving, retrieving, loading, running, operating, displaying, maintaining, debugging and
performing other computer operations involving computer programs including Vianix's MASC
Technology" without approval or authorization. (D.I. 1 ¶ 67 .)

     II. Parties' Contentions

      As the first basis for its Motion To Dismiss, Defendant contends that Plaintiff has failed to state a
claim upon which relief can be granted because Plaintiff has not identified the specific original works
forming the basis of its copyright infringement claim, and because Plaintiff has not identified specific
acts committed by Defendant which are actionable as infringement. (D.I. 8, at 10.) Defendant contends
that a copyright infringement complaint must identify which specific original works are the subject of the
infringement claim, and that Plaintiff has failed to identify which of the four Subject Works are allegedly
infringed. (Id. at 11-12.) Further, Defendant contends that a copyright infringement complaint must
allege the specific acts by which the copyright is infringed, and that none of the specifically-alleged acts
in Plaintiff s Complaint qualify as infringement as a matter of law. (Id. at 13-19.)

       As the second basis for its Motion To Dismiss, Defendant contends that the Agreement is
unambiguous and should be interpreted as a matter of law. (Id. at 19.) Defendant contends that under the
Agreement, termination does not affect the rights of Defendant's customers to use MASC Technology. (
Id. at 20.) In addition, Defendant argues that under the Agreement, Defendant is entitled to retain back-up
copies of its Legacy Programs. (Id. at 20-23.)

      Plaintiff responds that a complaint sufficiently states a claim for copyright infringement if it alleges
that a defendant infringed "one or more" of the plaintiff's copyrights, and that a complaint need not plead
exactly which individual elements of the copyrighted works were infringed. (D.I. 10, at 4.) According to
Plaintiff, Defendant has adequate notice that the MASC Technology copyrighted works form the basis of
the claim, and that where there are only four copyrighted works, as here, there is little risk of confusion
or prejudice to Defendant. (Id. at 5.) In addition, Plaintiff contends that a complaint for copyright
infringement need not specify each individual act a defendant allegedly performed, and that there is no
requirement that it provide a detailed account of all of Defendant's objectionable conduct. (Id. at 8-10.)
Plaintiff argues that it has sufficiently alleged the acts constituting its copyright infringement claim, and
notes that it alleged which specific copies of products containing MASC Technology Defendant
produced after termination of the Agreement. (Id.)

       With regard to Defendant's substantive arguments concerning the Agreement, Plaintiff contends
that it has a different interpretation than Defendant on post-termination rights under the Agreement. (Id.
at 12-13.) Because the Agreement is ambiguous, according to Plaintiff, any contractual ambiguities must
be resolved in its favor at the pleading stage. (Id. at 11-12.)

     III. Legal Standard

       Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, a defendant may move for dismissal
based on a plaintiff s "failure to state a claim upon which relief can be granted." Fed.R.Civ.P. 12(b)(6).
When reviewing a motion to dismiss under Rule 12(b) (6), the Court must accept all factual allegations in
a complaint as true and view them in the light most favorable to the plaintiff. See Christopher v. Harbury
, 536 U.S. 403, 406 (2002) . A complaint must contain "a short and plain statement of the claim showing
that the pleader is entitled to relief." Fed.R.Civ.P. 8(a)(2). Assuming the factual allegations are true, even
if doubtful in fact, the "factual allegations must be enough to raise a right to relief above the speculative
level." Bell A. Corp. v. Twombly, 550 U.S. 544, 555 (2007). While the complaint need not make detailed
factual allegations, "a plaintiff's obligation to provide the grounds of his entitlement to relief requires
more than mere labels and conclusions, and a formulaic recitation of the elements of a cause of action."
Id. (internal quotations and citations omitted). Thus, stating a claim upon which relief can be granted
"''requires a complaint with enough factual matter (taken as true) to suggest' the required element" of a
cause of action. Phillips v. County of Allegheny, 515 F.3d 224, 234 (3d Cir. 2008)(citing Twombly, 550 U.
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S. at 556.) In sum, if a complaint "pleads factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged, " Ashcroft v. Iqbal. 129 S.Ct. 1937, 1949
(2009), then the complaint is "plausible on its face, " and will survive a motion to dismiss under Rule 12
(b)(6). Twombly, 550 U.S. at 570.

     IV. Discussion

      A. Whether Plaintiff Sufficiently Alleged Copyrighted Works And Conduct That Constitutes
Infringement

      A successful copyright infringement claim requires proof of (1) ownership of a valid copyright, and
(2) copying of constituent elements of the work that are original. Feist Publ'ns, Inc. v. Rural Tel. Serv. Co.
, 499 U.S. 340, 361 (1991). With regard to the second element, "[c]opying is a 'shorthand reference to the
act of infringing any of the copyright owner's five exclusive rights set forth at 17 U.S.C. § 106.'" Ford
Motor Co. v. Summit Motor Prods., Inc., 930 F.2d 277, 291 (3d Cir. 1991)(citing Paramount Pictures v.
Video Broad. Sys., 724 F.Supp. 808, 819 (D. Kan. 1989)). In order to be sufficiently pled under Rule 8, a
claim for copyright infringement must state (1) "which specific original work is the subject of the
copyright claims, " (2) "that plaintiff owns the copyright, " (3) "that the work in question has been
registered in compliance with the statute, " and (4) "by what acts and during what time defendant has
infringed the copyright." Gee v. CBS, 471 F.Supp. 600, 643 (E.D. Pa. 1979), aff'd, 612 F.3d 572 (3d Cir.
1979) (pre- Twombly decision); see also Home & Nature Inc. v. Sherman Specialty Co., Inc., 322 F.Supp.
2d 260, 266 (E.D.N.Y. 2004)(reciting same pleading standard in pre- Twombly decision); Plunket v.
Doyle, No. 99 Civ. 11006, 2001 WL 175252, at *4 (S.D.N.Y. Feb. 22, 2001)(reciting same pleading
standard in pre-Twombly decision).

      The Court concludes that Plaintiff s Complaint sufficiently pleads which specific original works are
the subject of its copyright claim. The Complaint identifies the Subject Works as four computer
programs, in the form of source code, embodying the MASC Technology, with U.S. Copyright
Registration Nos. TX 6-879-210, TX 6-879-213, TX 6-879-215, and TX 6-879-216. (D.I. 1 ¶¶ 16, 21.)
The Complaint further alleges that pursuant to the Agreement, Plaintiff provided "one or more" of the
four Subject Works to Defendant in the form of "object code, " a machine- readable translated form of
source code. (Id. ¶¶ 20-21.) Additionally, the Complaint identifies seven specific products and alleges
that since 2005, Defendant incorporated the Subject Works into "at least" those products. (Id. ¶ 30.)

       Defendant cites to the case of Tegg Corp v. Beckstrom Elec. Co., C.A. No. 08-435, 2008 WL
2682602 (E.D. Pa. July 1, 2008) to support its contention that Plaintiff must specifically identify which of
the "one or more" Subject Works Defendant is alleged to infringe. However, Tegg is inapposite; in that
case, a motion to dismiss a copyright infringement claim was granted because the complaint was unclear
as to which original works were protected by which of the registered copyrights. Tegg, 2008 WL
2682602, at *8. In particular, the complaint in Tegg identified a broad software system with smaller
components as the original work(s), but failed to "identify whether a single copyright registration protects
the [] software as a whole, if multiple registrations protect the individual components in their entirety, . . .
or if the registrations protect the Confidential and proprietary' database scheme contained therein." Id. In
contrast, in the present action, the Complaint makes clear that four computer programs, each protected by
a copyright registration, are alleged to be infringed.

      In addition, the Court concludes that the Complaint sufficiently pleads by what acts Plaintiff alleges
Defendant has infringed. Plaintiff alleges that on January 16, 2009, Defendant informed Vianix Delaware
that Defendant made "archived copies of its own products, including versions that contain Vianix" (D.I. 1
¶ 59), but that the Agreement did not grant any post-termination rights to make and store such archived
copies (Id. ¶ 63) . Accordingly, Plaintiff alleges that Defendant's act of "making and storing [] ''archived
copies of its own products, including versions that contain Vianix' including the Subject Works, "
constitutes infringement. (Id. ¶ 61) In the January 16, 2009 email, which serves as the factual basis for
this allegation, counsel for Defendant stated "[Defendant] maintains archived copies of its own products,
including versions that contain Vianix, but those programs are not currently running on any computer,
and are kept in case they are needed in order to provide customer support to customers with older
versions of the software."[5] (D.I. 7, Thorn Decl., Ex. G.) Although Defendant contends that the email
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makes clear that Defendant has not made any new archived copies since termination of the Agreement
(and therefore that any claimed infringing act is pure conjecture), the email is not so explicit.
Accordingly, at this stage, the Court must accept as true Plaintiff's factual allegation that Defendant is
making and storing archived copies of its products which include the Subject Works. In turn, the Court
concludes that Plaintiff s factual allegations rise above the speculative level, and support an inference that
Defendant is liable for the misconduct alleged. See 17 U.S.C. § 106(1)(stating that it is an infringing act
to "reproduce the copyrighted work in copies or phonorecords").

     Because Plaintiff has sufficiently identified which specific original works are the subject of the
claim, as well as a specific act by which Defendant has allegedly infringed the copyright(s), the Court
concludes that Plaintiff's Complaint is plausible on its face and states a claim for copyright infringement.

      B. Whether, Under The Agreement, Defendant Has A Valid License To Perform The Alleged
Infringing Acts

      Section 11.2(c) of the Agreement provides that "[termination shall not affect the rights of
DICTAPHONE Clients and DICTAPHONE Distributors to continue to use the MASC Technology
acquired from DICTAPHONE in accordance with the terms of this Agreement." (D.I. 7, Thorn Decl., Ex.
B, Agreement § 11.2(c)). Section 4.2(c) provides that Defendant has the obligation to "provide technical
support appropriate for the DICTAPHONE Products to End Users and Sublicensees." (Id. § 4.2(c)).
Defendant contends that these provisions demonstrate that Defendant had to retain historical copies of its
software products in order to fulfill its obligations under the Agreement, and thus, Plaintiff's
"infringement claim based on [Defendant]'s post-termination storage of pre-existing archival copies
containing the MASC Technology is without legal support."[6] (D.I. 8, at 23.) However, as discussed
above, the Court accepts as true Plaintiff's factual allegation that Defendant is making and storing
archived copies of its products, which include the Subject Works, after termination of the Agreement. By
its Motion, Defendant does not argue that the Agreement allows for the making and storing of archived
copies of its products after termination of the Agreement. At this stage, therefore, the Court cannot
conclude as a matter of law that the Agreement allowed for Defendant to perform the infringing act
alleged in the Complaint.

         V. Conclusion

         For the reasons discussed, Defendant's Motion To Dismiss will be denied.

         An appropriate Order will be entered.

         ORDER

      At Wilmington, this 20 day of July 2010, for the reasons set forth in the Memorandum Opinion
issued this date; NOW THEREFORE, IT IS HEREBY ORDERED that Nuance Communications, Inc.'s
Motion To Dismiss (D.I. 5.) is DENIED.

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Notes:

[1]Dictaphone Corporation was acquired by Defendant on or about March 31, 2006, and is now a wholly-owned subsidiary of

Defendant. (D.I. 1 ¶ 5; D.I. 8, at 1.)

[2] Vianix Delaware LLC ("Vianix Delaware") is a wholly-owned subsidiary of Plaintiff. (D.I. 1 ¶ 2.)


[3]MASC Technology is "audio compression software" which "allows direct recording of a voice into a compressed file format

that minimizes the costs of file storage and transmission prior to compression." (Id. ¶¶ 9, 12.)

[4]Vianix Delaware LLC v. Nuance Communications, Inc., C.A. No. 09-67-NLH-JS.
   Case 1:20-cv-00613-SB               Document 17-1             Filed 08/20/20          Page 40 of 65 PageID #: 515
[5] The Court may consider the actual text of the January 16, 2009 email because it was explicitly relied on in Plaintiff's

Complaint. See In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997) ("a document integral to or
explicitly relied upon in the complaint may be considered without converting the motion to dismiss into one for summary
judgment")(internal quotation marks omitted).

[6] The Court may consider the text of the Agreement without converting the present Motion To Dismiss into a motion for

summary judgment because the Agreement is explicitly relied on in Plaintiff's Complaint. See In re Burlington Coat Factory
Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997).

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                          EXHIBIT 7
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Ubiquiti Networks, Inc. v. Cambium Networks, Inc., 052219 ILNDC, 18 C 5369

                               UBIQUITI NETWORKS, INC., Plaintiff,

                                                     v.

 CAMBIUM NETWORKS, INC., CAMBIUM NETWORKS, LTD., BLIP NETWORKS, LLC,
 WINNCOM TECHNOLOGIES, INC., SAKID AHMED, and DMITRY MOISEEV, Defendants.

                                               No. 18 C 5369

                      United States District Court, N.D. Illinois, Eastern Division

                                               May 22, 2019

      MEMORANDUM OPINION AND ORDER

      GARY FEINERMAN JUDGE

     Ubiquiti Networks, Inc. brings this suit against Cambium Networks, Inc., its parent Cambium
Networks, Ltd., its employees Sakid Ahmed and Dmitry Moiseev, and its customers Blip Networks, LLC
and Winncom Technologies, Inc., alleging violations of the Racketeer Influenced and Corrupt
Organizations Act (“RICO”), 18 U.S.C. § 1961 et seq., and other laws. Doc. 1. Defendants move to
dismiss under Civil Rules 12(b)(1) and 12(b)(6). Doc. 37. The Rule 12(b)(1) motion is denied, the Rule
12(b)(6) motion is granted, and Ubiquiti will be given a chance to replead.

     Background

       In resolving a Rule 12(b)(1) motion asserting a facial challenge to subject matter jurisdiction, as in
resolving a Rule 12(b)(6) motion, the court assumes the truth of the operative complaint's well-pleaded
factual allegations, though not its legal conclusions. See Zahn v. N. Am. Power & Gas, LLC, 815 F.3d
1082, 1087 (7th Cir. 2016) (Rule 12(b)(6)); Silha v. ACT, Inc., 807 F.3d 169, 173 (7th Cir. 2015) (Rule 12
(b)(1)). The court must also consider “documents attached to the complaint, documents that are critical to
the complaint and referred to in it, and information that is subject to proper judicial notice, ” along with
additional facts set forth in the non-movant's brief opposing dismissal, so long as those additional facts
“are consistent with the pleadings.” Phillips v. Prudential Ins. Co. of Am., 714 F.3d 1017, 1019-20 (7th
Cir. 2013). The facts are set forth as favorably to Ubiquiti as those materials allow. See Domanus v.
Locke Lord, LLP, 847 F.3d 469, 478-79 (7th Cir. 2017). In setting forth the facts at this stage, the court
does not vouch for their “objective truth.” Goldberg v. United States, 881 F.3d 529, 531 (7th Cir. 2018).

     In 2009, Ubiquiti introduced its M-series products, which are broadband devices that enhance
wireless connectivity and are sold primarily to wireless internet service providers. Doc. 1 at ¶¶ 21-22, 35.
The M-series devices run on Ubiquiti's firmware, which includes radio control software, file system
software, a calibration protocol, the airOS® operating system, the AirMAX® technology platform, and
various access control and verification measures. Id. at ¶¶ 23, 74-75, 77-78, 84; Doc. 1-2 at 2 (defining
“Ubiquiti Firmware” as “the firmware in object code form made available by Ubiquiti for Ubiquiti
devices”). Each user of an M-series device must accept Ubiquiti's Terms of Use and Firmware User
License Agreement (“FULA”) before configuring the device, Doc. 1 at ¶¶ 24, 37; Doc. 1-2, and must
agree to Ubiquiti's End User License Agreement (“EULA”) before downloading firmware updates from
Ubiquiti's website, Doc. 1 at ¶ 41; Doc. 1-3.

      The FULA prohibits an M-series device user from “using the Ubiquiti Firmware on any device
other than a Ubiquiti Device” and “copying, us[ing], or modif[ying] … ANY PART of [Ubiquiti's]
firmware.” Doc. 1 at ¶ 38 (quoting Doc. 1-2 at 2); id. at ¶ 39 (similar, quoting Doc. 1-2 at 3). The FULA
further provides that “[u]nauthorized copying of the Ubiquiti Firmware or failure to comply with the
[FULA's] restrictions will result in automatic termination of th[e FULA] and will make available to
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Ubiquiti other legal remedies.” Id. at ¶ 40 (quoting Doc. 1-2 at 4). The EULA similarly prohibits an M-
series device user from “reverse engineer[ing]” or “otherwise attempt[ing] to … derive the source code
or the underlying ideas, algorithms, structure or organization” of Ubiquiti's firmware, as well as from
“circumvent[ing] any software protection mechanisms, ” including “such mechanism[s] used to restrict
or control the” Ubiquiti firmware's “functionality.” Doc. 1-3 at 4; Doc. 1 at ¶ 42. The EULA also
prohibits M-series device users from “publicly perform[ing] or display[ing]” Ubiquiti firmware without
Ubiquiti's consent. Doc. 1-3 at 4.

      The FULA states that “Ubiquiti Firmware may contain Open Source Software.” Doc. 1-2 at 3. The
FULA defines “Open Source Software” as “any software or software component, module or package that
contains, or is derived in any manner (in whole or in part) from, any software that is distributed as free
software, open source software or similar licensing or distribution models, including … GNU's General
Public License, ” known as the “GPL.” Id. at 2. Ubiquiti's website confirms that “[s]ome of the software
in the firmware is licensed under the” GPL and similar open source software licenses. Doc. 33-1 at 2-3.
The FULA provides that open source software licenses take “precedence over [any inconsistent] rights
and restrictions granted in” the FULA. Doc. 1-2 at 4. Likewise, the EULA advises that Ubiquiti's
firmware may include “software products that are subject to separate license terms”-such as “software or
software components that are derived, in whole or in part, from software that is distributed as free
software, open source software or under similar licensing or distribution models”-and that those separate
license terms “shall take precedence over the rights and restrictions granted in this EULA solely with
respect to” the open source software. Doc. 1-3 at 4-5.

       As an open source software license, the GPL provides that a licensee (here, Ubiquiti) that “convey
[s] a covered work … waive[s] any legal power to forbid circumvention of technological measures to the
extent such circumvention is effected by exercising rights under” the GPL. Doc. 33-4 at 4 (GPL version
3, effective June 29, 2007). The GPL also requires the licensee to “disclaim any intention to limit
operation or modification of the [covered] work as a means of enforcing, against the work's users, [the
licensee's] … legal rights to forbid circumvention of technological measures.” Ibid. A “covered work”
under the GPL includes “a work based” in whole or in part on open source software, but does not include
“separate and independent works, which are not by their nature extensions of the covered work, and
which are not combined with it such as to form a larger program.” Doc. 33-4 at 2, 5. As a result, the GPL
propagates the rights associated with open source software to derivative programs, affording users of
derivative programs the same “freedom to change the software” that the GPL guarantees. Id. at 2; see
Wallace v. IBM Corp., 467 F.3d 1104, 1105 (7th Cir. 2006) (“[T]he GPL propagates from user to user
and revision to revision: neither the original author, nor any creator of a revised or improved version,
may charge for the software or allow any successor to charge.”). (Contrary to Ubiquiti's submission, Doc.
39 at 16, the GPL may be considered on a Rule 12(b)(6) motion. Where “a plaintiff attaches to the
complaint a document” like the FULA or EULA “that qualifies as a written instrument, and [the]
complaint references and relies upon that document in asserting [the] claim[s], the contents of that
document become part of the complaint and may be considered as such when the court decides a motion
attacking the sufficiency of the complaint.” Williamson v. Curran, 714 F.3d 432, 436 (7th Cir. 2013); see
also Burke v. 401 N. Wabash Venture, LLC, 714 F.3d 501, 505 (7th Cir. 2013) (“[A] copy of any written
instrument which is an exhibit to a pleading is a part thereof for all purposes.”) (quoting Fed.R.Civ.P. 10
(c)). And where, as here, the defendants “attac[h] to a motion to dismiss” documents that “are referred to
in the plaintiff's complaint and are central to [its] claim”-here, the GPL, which the FULA and the EULA
expressly incorporate-those documents “are considered part of the pleadings” as well. Burke, 714 F.3d at
505 (internal quotation marks omitted); see also Mueller v. Apple Leisure Corp., 880 F.3d 890, 895 (7th
Cir. 2018) (same).)

     At some point before November 30, 2016, Cambium created a modified version of the M-series
firmware by: modifying, copying, and deleting portions of Ubiquiti's firmware, user interfaces, and
copyright notices; replacing the radio operating software; circumventing access control mechanisms on
the M-series devices; and using without authorization Ubiquiti's trademarks and original firmware that
remained on the devices following the modifications. Doc. 1 at ¶¶ 43-51, 57. On November 30, 2016,
Cambium began promoting its modified firmware under the product name ePMP Elevate for installation
on Ubiquiti's M-series devices. Id. at ¶¶ 54, 63-64, 70. Cambium's promotional materials for ePMP
Elevate included a webinar in which Ahmed, Cambium's Vice President of Engineering, and Moiseev, a
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Cambium employee, demonstrated how to navigate Ubiquiti's web user interface to replace Ubiquiti's
firmware with ePMP Elevate. Id. at ¶¶ 93-100; Doc. 1-6. Cambium's promotional materials stated that
“Ubiquiti® XW/XM” devices supported ePMP Elevate, Doc. 1-9 at 8; Doc. 1 at ¶¶ 109, 118, and
Cambium repeatedly referenced Ubiquiti in online forums discussing ePMP Elevate, Doc. 1 at ¶¶ 120,
122-126. With support from its parent company, Cambium offered customers like Winncom and Blip a
special discount for promoting ePMP Elevate through positive reviews. Id. at ¶¶ 142, 145-146, 148-152,
155-157.

      Cambium's promotional materials further represented that downloading ePMP Elevate onto
Ubiquiti's M-series devices allows users “to increase [broadband] performance without replacing” their
existing hardware. Id. at ¶ 63 (emphasis omitted) (quoting Doc. 1-7 at 2); see also Doc. 1-8 at 3 (“ePMP
Elevate is a software solution that is hardware agnostic … .”). When installed on M-series devices, ePMP
Elevate deletes various portions of Ubiquiti's firmware while preserving others; alters the user interface
and copyright notices; and changes the radio software to operate in violation of Federal Communications
Commission (“FCC”) rules. Doc. 1 at ¶¶ 73-82, 84-87. In promoting ePMP Elevate, Cambium
misrepresented that ePMP Elevate would entirely replace Ubiquiti's firmware; that Ubiquiti's warranty
would cover devices running ePMP Elevate; and that Ubiquiti devices running ePMP Elevate would
remain compliant with FCC rules. Id. at ¶¶ 110-117; Doc. 1-4 at 3-5. Despite Ubiquiti's enhancing its
firmware's access control mechanisms by introducing “signed” versions of airOS® in early 2017,
Cambium has instructed users how they can bypass those mechanisms to install ePMP Elevate on
Ubiquiti devices. Doc. 1 at ¶¶ 88, 92; Doc. 1-11 at 3-4, 8-9.

      Discussion

       Ubiquiti alleges that Cambium violated the Computer Fraud and Abuse Act, 18 U.S.C. § 1030, the
Illinois Computer Crime Prevention Law, 720 ILCS 5/17-51, the Copyright Act, 17 U.S.C. § 101 et seq.,
the Digital Millennium Copyright Act, 17 U.S.C. §§ 1201-02, the Lanham Act, 15 U.S.C. §§ 1114, 1125,
and state common law in connection with Cambium's misuse of Ubiquiti's M-series broadband products.
Doc. 1 at ¶¶ 168-356. Ubiquiti also alleges that Defendants have formed an enterprise led by Cambium in
violation of RICO to promote the unlawfully altered M-series devices. Id. at ¶¶ 357-398.

      Defendants seek dismissal under Rule 12(b)(1) on the ground that the GPL and other open source
software licenses deprive Ubiquiti of “standing” to enforce its copyright and contract rights. Doc. 33 at
36-37. Although Defendants assert this “standing” argument as a jurisdictional ground for dismissal
under Rule 12(b)(1), the Seventh Circuit has held that whether a party has sufficiently alleged its right to
enforce a contract or copyright is properly addressed as a merits issue under Rule 12(b)(6), not as a
jurisdictional issue under Rule 12(b)(1). See JPMorgan Chase Bank, N.A. v. McDonald, 760 F.3d 646,
650 (7th Cir. 2014) (“The [defendants' conduct] appears to have violated the clause of their contract with
the [plaintiff], and the [plaintiff's] claim of the violation is enough to give the [plaintiff] standing to bring
this action to enforce the clause.”); HyperQuest, Inc. v. N'Site Solutions, Inc., 632 F.3d 377, 381 (7th Cir.
2011) (explaining that “the Copyright Act spells out who has enforceable rights under the statute, ” and
that “someone who does not” have an enforceable copyright “has failed to state a claim upon which relief
may be granted, ” which results in dismissal under Rule 12(b)(6)); see also Sierra Club v. EPA, 774 F.3d
383, 389 (7th Cir. 2014) (“In reviewing the standing question, the court must be careful not to decide the
questions on the merits for or against the plaintiff, and must therefore assume that on the merits the
[plaintiff] would be successful in [its] claims.”) (alteration and internal quotation marks omitted); Grede
v. Bank of N.Y. Mellon, 598 F.3d 899, 900 (7th Cir. 2010) (“Whether a given action is within the scope of
[a statute] is a question on the merits rather than one of justiciability.”).

      As to their Rule 12(b)(6) motion, Defendants submit that the GPL and other open source software
licenses incorporated into the FULA and EULA narrow the rights Ubiquiti may assert against
downstream users like Cambium and thereby undermine Ubiquiti's claims on the merits. Doc. 33 at 16-
19. Ubiquiti concedes the point, at least in part: While the complaint generally and broadly alleges that
Cambium acted unlawfully in deleting, modifying, and copying largely unspecified portions of Ubiquiti's
firmware, Doc. 1 at ¶¶ 44-45, 48, 67, 73-78, 171, 186, 193, 196, 203, 207, 214-215, 217, 227, 235, 248,
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278, 280, 285, 307-311, Ubiquiti clarified at the motion hearing that its firmware-related claims are
limited to adjustments Cambium made to the “proprietary user interface, ” “configuration code, ” and
“calibration code, ” and the AirMAX® platform-terms that the complaint does not clearly define.

      This disconnect presents a problem under governing pleading rules. Rule 8(a)(2) requires
“straightforward” pleadings, Stanard v. Nygren, 658 F.3d 792, 800 (7th Cir. 2011) (internal quotation
marks omitted), and the Rule's “primary purpose … is to give defendants fair notice of the claims against
them and the grounds supporting the claims, ” Cincinnati Life Ins. Co. v. Beyrer, 722 F.3d 939, 946 (7th
Cir. 2013) (internal quotation marks omitted). The complaint violates Rule 8(a)(2) because it does not
provide adequate notice of how Defendants allegedly violated Ubiquiti's firmware-related rights in light
of the GPL's and other open source software licenses' incorporated limitations. The fact that Ubiquiti at
the motion hearing had to go to great lengths to explain the rough contours of its claims, even after full
briefing on the motion to dismiss, confirms the point. See Stanard, 658 F.3d at 800 (noting that a
complaint may violate Rule 8 where “discerning the basic legal and factual basis of the claims is not
impossible but merely unnecessarily difficult”); United States ex rel. Garst v. Lockheed-Martin Corp.,
328 F.3d 374, 378 (7th Cir. 2003) (holding that a complaint must provide notice of “the principal
contested matters”).

      Ubiquiti responds that Rule 8(a)(2) does not require its complaint “to identify particular source
code within its firmware that is protected by copyright.” Doc. 39 at 16. True enough, a complaint “need
not plead detailed factual allegations.” Bell v. City of Chicago, 835 F.3d 736, 738 (7th Cir. 2016)
(internal quotation marks omitted). But the disconnect between the broad claims articulated in the
complaint, on the one hand, and Ubiquiti's acknowledgement that the GPL and other open source
software licenses limit its rights and therefore the scope of its claims, on the other, makes the scope of
Defendants' allegedly unlawful conduct “unintelligible, ” thereby violating Rule 8(a)(2). Beyrer, 722 F.3d
at 946 (“If neither the adverse party nor the court can make out the essence of the claims[, ] dismissal of
a complaint on the ground that it is unintelligible is unexceptionable.”) (internal quotation marks
omitted); see Synopsys, Inc. v. ATopTech, Inc., 2013 WL 5770542, at *4 (N.D. Cal. Oct. 24, 2013)
(“Plaintiff muddles [its copyright] claim by also asserting that parts of its software and documentation are
open-source, which makes its contention that essentially all of its materials are under Plaintiff's copyright
protection less plausible. … Plaintiff need not reach any heightened level of particularity for its copyright
claims, but those claims must be plausible under Rule 8, Twombly, and Iqbal.”). Until Ubiquiti spells out
at least the general nature of its allegedly misused firmware that is not covered by the GPL and other
open source software licenses, Defendants will not have adequate notice of Ubiquiti's claims. See Stanard
, 658 F.3d at 799 (“To form a defense, a defendant must know what he is defending against; that is, he
must know the legal wrongs he is alleged to have committed and the factual allegations that form the
core of the claims asserted against him.”); Christensen v. Park City Mun. Corp., 554 F.3d 1271, 1276
(10th Cir. 2009) (“[P]lausibility in the context of determining the sufficiency of a complaint refers to the
scope of the allegations in a complaint: if they are so general that they encompass a wide swath of
conduct, much of it innocent, then the plaintiffs have not nudged their claims across the line from
conceivable to plausible.”) (alteration and internal quotation marks omitted).

      Because the complaint violates Rule 8(a)(2), it is dismissed under Rule 12(b)(6). See Davis v.
Anderson, 718 Fed.Appx. 420, 424 (7th Cir. 2017) (“[I]t's usually preferable to require repleading rather
than ordering a more definite statement so that a plaintiff's allegations are not split between the complaint
and the more definite statement.”) (citing Davis v. Ruby Foods, Inc., 269 F.3d 818, 820 (7th Cir. 2001));
Griffin v. Milwaukee Cnty., 369 Fed.Appx. 741, 743 (7th Cir. 2010) (same). The dismissal is without
prejudice, and Ubiquiti will be given a chance to replead. See Pension Trust Fund for Operating Eng'rs v.
Kohl's Corp., 895 F.3d 933, 941 (7th Cir. 2018) (“We repeatedly have said that a plaintiff whose original
complaint has been dismissed under Rule 12(b)(6) should be given at least one opportunity to try to
amend [the] complaint before the entire action is dismissed.”) (internal quotation marks omitted). Once
Ubiquiti repleads, the court and Defendants will be in a better position to ascertain whether (and to what
extent) the GPL and other open source software licenses cover Cambium's alleged firmware
modifications, and therefore to determine the legal sufficiency of Ubiquiti's claims.

     Conclusion
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     Defendants' motion to dismiss is denied in part (as to Rule 12(b)(1)) and granted in part (as to Rule
12(b)(6)). The complaint is dismissed without prejudice. Ubiquiti has until June 5, 2019 to file an
amended complaint. If it does not do so, the dismissal will convert automatically to a dismissal with
prejudice. If Ubiquiti files an amended complaint, Defendants will have until June 19, 2019 to file their
response.
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                          EXHIBIT 8
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Purohit v. Legend Pictures, LLC, 032420 DEDC, C. A. 18-1907-RGA

                        KALYAN PUROHIT a.k.a. CLEMENT GORE, Plaintiff,

                                                         v.

LEGEND PICTURES, LLC, d.b.a. LEGENDARY ENTERTAINMENT, UNIVERSAL STUDIOS
     LLC, and UNIVERSAL STUDIOS HOME ENTERTAINMENT LLC, Defendants.

                                        Civil Action No. 18-1907-RGA

                                 United States District Court, D. Delaware

                                                 March 24, 2020

       Timothy Devlin, James Lennon, DEVLIN LAW FIRM LLC, Wilmington, DE; Attorneys for
Plaintiff

     Elizabeth Sloan, BALLARD SPAHR LLP, Wilmington, DE; David Grossman, LOEB & LOEB
LLP, Los Angeles, CA; Attorneys for Defendants

      MEMORANDUM OPINION

      ANDREWS, U.S. DISTRICT JUDGE

      Before the Court is Defendants' Motion to Dismiss Pursuant to FRCP 12(b)(6). (D.I. 18). The Court
has considered the parties' briefing and related papers. (D.I. 19, 22, 24, 36, 37). The Court has reviewed
Plaintiff's Book (D.I. 43) and YouTube Video (D.I. 42) as well as Defendants' Krampus Film (D.I. 41)
and Graphic Novel (D.I. 47).

      I. BACKGROUND

       In the instant case, Plaintiff's operative complaint alleges copyright infringement of his work
entitled “The Krampus Night Before Christmas” (“the Book”). (D.I. 15 at 3). The text of the Book
parodies Clement Clarke Moore's 1823 poem “A Visit from St. Nicholas” and tells the story of a family's
visit from Krampus. (Id. at 5). Krampus is an anthropomorphic folklore figure who is the devilish foil of
Saint Nikolaus. (Id. at 4-5). Plaintiff hired an artist to create illustrations for the Book to go along with
the text that Plaintiff wrote. (Id. at 6). The artist assigned all rights in his illustrations to Plaintiff. (Id.).
The Book was published on October 13, 2012, and Plaintiff obtained a United States copyright on the
Book on September 13, 2017 (Registration No. TX0008463196). (Id. at 3). Plaintiff created a video in
2012 that he posted on YouTube (“YouTube Video”), in which a voiceover reads the text of the Book
while illustrations from the Book are shown. (D.I. 15 at 6).

      On November 30, 2018, Plaintiff filed the instant suit alleging that Defendants' “Krampus” motion
picture (“Film”) infringes his copyright in the Book. (D.I. 1 at 8). Defendants subsequently filed a motion
to dismiss for failure to state a claim under Federal Rule of Civil Procedure 12(b)(6). (D.I. 9). Plaintiff
filed an amended complaint in response. (D.I. 15). Defendants then filed a Rule 12(b)(6) motion to
dismiss the amended complaint. (D.I. 18).

      II. LEGAL STANDARD

      A. Rule 12(b)(6)

      When reviewing a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), the
Court must accept the complaint's factual allegations as true. See Bell Atl. Corp. v. Twombly, 550 U.S.
544, 555-56 (2007). Rule 8(a) requires “a short and plain statement of the claim showing that the pleader
  Case 1:20-cv-00613-SB           Document 17-1         Filed 08/20/20      Page 49 of 65 PageID #: 524

is entitled to relief.” Id. at 555. The factual allegations do not have to be detailed, but they must provide
more than labels, conclusions, or a “formulaic recitation” of the claim elements. Id. (“Factual allegations
must be enough to raise a right to relief above the speculative level . . . on the assumption that all the
allegations in the complaint are true (even if doubtful in fact).”). Moreover, there must be sufficient
factual matter to state a facially plausible claim to relief. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The
facial plausibility standard is satisfied when the complaint's factual content “allows the court to draw the
reasonable inference that the defendant is liable for the misconduct alleged.” Id. (“Where a complaint
pleads facts that are merely consistent with a defendant's liability, it stops short of the line between
possibility and plausibility of entitlement to relief.” (internal quotation marks omitted)).

     B. Copyright Infringement

     “To establish a claim of copyright infringement, a plaintiff must establish: (1) ownership of a valid
copyright; and (2) unauthorized copying of original elements of the plaintiff's work.” Dun & Bradstreet
Software Servs., Inc. v. Grace Consulting, Inc., 307 F.3d 197, 206 (3d Cir. 2002). There are, in turn, two
elements required to prove unauthorized copying of original elements of the plaintiff's work: (1) material
appropriation of the copyrighted work, and (2) actual copying. Tanksley v. Daniels, 902 F.3d 165, 173
(3d Cir. 2018).

      The material appropriation inquiry examines the “substantial similarity” between the protectable
elements of plaintiff's work and defendant's work, asking whether a “lay observer” would believe that
defendant's work copied protectable elements from plaintiff's copyrighted work. Id. at 174. This analysis
requires the trier of fact to filter out the unprotectable elements of the copyrighted work and compare the
remaining elements with the accused work to see if the two are substantially similar. Id. Under the scènes
à faire doctrine, some elements are unprotectable because they are standard expressions that logically
flow from a general idea and are therefore common among works of a kind. Swirsky v. Carey, 376 F.3d
841, 850 (9th Cir. 2004). The “total concept and feel” of a work can also show substantial similarity
between two works. Tanksley, 902 F.3d at 175. This analysis can be helpful when the copyrighted work
is a compilation of unprotectable elements, but the author's original contributions in the selection,
coordination, and arrangement of those elements is protectable. Id.

      Actual copying requires that the defendant used the copyrighted work in creating the infringing
work. Id. A defendant's work is not infringing if it was created independently of the plaintiff's work. Id.
Absent direct evidence, actual copying may be “shown through circumstantial evidence of access and
similarity.” Id.

      “Upon review of the works themselves, if the court concludes that no trier of fact could rationally
determine the two to be substantially similar, it can render a defense judgment as a matter of law.” 3
Melville B. Nimmer & David Nimmer, Nimmer on Copyright § 12.10[B][3] (2019). The Third Circuit
has confirmed that district courts have authority to render such judgments on a motion to dismiss if “no
reasonable juror could find substantial similarity.” Tanksley, 902 F.3d at 172. I think this is such a case.
The Court offered to hold a hearing to aid in its consideration of the substantial similarity analysis. (D.I.
34). Neither side requested a hearing. (D.I. 36, 37). Defendants “[did] not object [to one].” (D.I. 36 at 1).
Plaintiff “[was] willing to forego a further hearing [in reference to substantial similarity].” (D.I. 37 at 2).
Based on the parties' responses, the Court obtained the relevant artistic works at issue (D.I. 38-43, 47),
and I read or watched them. No. one has suggested any other evidence, such as expert testimony, would
make a difference.

     III. DISCUSSION

     A. Direct Infringement

     a. Substantial Similarity

     i. Plaintiff's Book
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      The first count of Plaintiff's amended complaint alleges that Defendants infringe Plaintiff's
exclusive rights in the Book and other derivative works, including the YouTube Video. (D.I. 15 at 20).
Plaintiff alleges that Defendants' Film is substantially similar to the Book in that it “copies original and
distinctive elements” of the depiction of Krampus in the Book. (Id. at 9). Plaintiff's claimed “original and
distinctive elements” include horns like those of a Walia ibex, a lack of black fur, a pronounced hunch, a
long beard, glowing slanted eyes, a tattered red robe, limply bent arms, and clawed hands. (Id. at 9-10).
Plaintiff also alleges that the Film “copies [the] original and distinctive” entrance of Krampus “through
the chimney headfirst, cracking part of the flue and spreading [his] hands out to the side of the fireplace”
with a hood obscuring his eyes. (Id. at 11-12). Plaintiff further alleges that the Film “copies original and
distinctive elements” of the Book like “dark elves, ” “demonic toys, ” and “evil, shaggy reindeer.” (Id. at
12-15). Plaintiff also claims that the Film's title style “copies the distinctive and creative title style of the
[Book].” (Id. at 15). Finally, Plaintiff claims that the cover of Defendants' Graphic Novel (a companion
work to the Film) “copies the distinctive and creative cover image of the [Book]” and that the depictions
of Krampus in the Graphic Novel infringe those in the Book. (Id. at 16-17).

       Plaintiff's allegations of infringement of the Book focus around the image of the Krampus
character. I will therefore begin with the Krampus character and filter out the unprotectable elements. As
Plaintiff states in his complaint, the Krampus character in the Book is based on the folklore Krampus, a
public domain character. (Id. at 4-5). The Krampus character in the abstract is thus unprotectable because
it is an idea and in the public domain. 17 U.S.C. § 102(b); DiTocco v. Riordan, 815 F.Supp.2d 655, 666,
668 (S.D.N.Y. 2011). While a public domain character is unprotectable, a particular expression of that
character might be protectable if it is a “distinguishable variation.” Gerlach-Barklow Co. v. Morris &
Bendien, Inc., 23 F.2d 159, 161 (2d Cir. 1927).

      Applied to Plaintiff's Krampus, only elements that distinguish the Book's illustrations of Krampus
from the Krampus in the public domain may be protectable. Plaintiff contends that those elements are the
horns like those of a Walia ibex, a lack of black fur, a pronounced hunch, a long beard, glowing slanted
eyes, a tattered red robe, limply bent arms, and clawed hands. (D.I. 15 at 9-10). Plaintiff argues that
Krampus in the Film also has these characteristics and thus is substantially similar to the Book's
Krampus. (Id.). The elements claimed by Plaintiff, however, are not protectable. These elements are “too
common and generic, and constitute scenes-a-faire that flow directly from” historical depictions of
Krampus and themes of both Christmas and horror entertainment. Newt v. Twentieth Century Fox Film
Corp., 2016 WL 4059691, at *11 (C.D. Cal. July 27, 2016); (see D.I. 15 at 4-5). While the Film's
Krampus does have some of these features, the elements are not sufficiently distinctive to allow for
copyright protection. Further, a lay observer would not believe that the Film copied the Book's
protectable elements of expression-the exact illustrations in the Book-such as to support a finding of
substantial similarity between the expression of Krampus in the Book and in the Film.

      The “total concept and feel” of the two Krampus expressions also does not show substantial
similarity. In the Film, Krampus only appears for a brief time while his monstrous minions do most of
the action. When Krampus is seen in the Film, he is mostly in shadow, except for the climactic scene
towards the end when protagonist Max tries to sacrifice himself to save his family. Only then do we see
the sunken eyes and decrepit, zombie-like face of Krampus. The Film's Krampus has the air of a mystical
and demonic being as he jumps between rooftops, sneak-attacks from deep underneath the snow, and has
powers to open a fiery crater in the earth. While certainly not human, the Book's Krampus is more
anthropomorphous and is less covert than Krampus in the Film. The face of the Book's Krampus is
always readily seen, and in the Book, Krampus is present during the punishment and damage to the
family and home. Rather than eerily ravaging an entire neighborhood, inducing a blizzard, and
employing minions to pick off the family one-by-one (as in the Film), the Book's Krampus descends
upon the family's home, steals the children, and promptly leaves in a sleigh. The “total concept and feel”
of Krampus as expressed in the Film is significantly different from how Krampus is expressed in the
Book. A lay observer would not find substantial similarity between the two.

      I next turn to Plaintiff's infringement claims relating to Krampus's entrance through the chimney
and his monstrous minions. Plaintiff claims that the Film copies from the Book Krampus's head-first
entrance through the chimney, which cracks the flue. (D.I. 15 at 11-12). Krampus's entrance is an
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unprotectable idea and thus Defendants' Film cannot infringe it. Plaintiff also alleges that the Film copied
the “dark elves, ” “demonic toys, ” and “evil, shaggy reindeer” from the Book. (Id. at 12-15). These too
are each ideas that cannot be protected by copyright and are therefore not infringed.

      Plaintiff further alleges that the Film copies the title style of the Book because the Film title also is
in a serif font with white text on a colored background and has “a curly ‘S,' and a descending stroke of
the ‘R'.” (D.I. 15 at 15). These elements, however, are unprotectable as they are in the public domain.
Tufenkian Imp./Exp. Ventures, Inc. v. Einstein Moomjy, Inc., 338 F.3d 127, 132 (2d Cir. 2003) (“Thus the
public domain includes, for example, both the generic shape of the letter “L” and all of the elaborately
more specific “L's” from the hundreds of years of font designs that have fallen into the public domain.”).
The Book's title style therefore cannot be infringed.

      Regarding Defendants' Graphic Novel, Plaintiff alleges that it copies both the cover of the Book
and the depictions of Krampus in the Book. (D.I. 15 at 16-17). The elements of the Book cover that
Plaintiff claims are “distinctive and creative” are unprotectable ideas. (Id. at 16). For example, Plaintiff
points to the image of Krampus with glowing eyes and an open mouth, and a house with lights in the
windows. (Id.). An open mouth and lit-up windows are ideas that cannot be protected by copyright. The
“total concept and feel” of the two covers is also different such that it does not support a finding of
substantial similarity. The Book cover is a silhouette of Krampus as he swallows up Christmas trees. The
Graphic Novel cover, however, has a detailed image of Krampus from the Film in the background behind
the house and a group of menacing-looking snowmen in the foreground.

      As for the expressions of Krampus in the Graphic Novel, Plaintiff again alleges similarity in the
horns, glowing eyes, and tattered red robe. (Id. at 17). As previously stated, these elements are
unprotectable ideas. The “total concept and feel” of the Graphic Novel is also different from that of the
Book. Like in the Film, Krampus in the Graphic Novel is barely shown, leaving much of the story to
other characters. Graphic Novel Krampus is more like a villain in action-genre entertainment than the
Book's folklore character. The Graphic Novel tells four different, dark, and complex stories where
Krampus is the villain aided by his monstrous minions. These stories do center around Christmastime,
but stray far from the folklore Krampus punishing naughty children. A lay observer would not find the
Book and the Graphic Novel to have the same total concept and feel such as to find them substantially
similar. Further, a lay observer would not believe that the Graphic Novel copied the Book's protectable
elements of expression-the exact cover and illustrations in the Book. Thus, there is no support for finding
substantial similarity between the Book and in the Graphic Novel.

      Plaintiff also claims that Defendants' promotional materials, the Film Facebook Page and
“Halloween Horror Nights” event, contain images and content (some of which are from the Film) that
copy the Book. (D.I. 15 at 17-19). To the extent that these promotional materials contain direct images
from the Film, these images are not substantially similar for the reasons already stated. Plaintiff alleges
that the display at the “Halloween Horror Nights” event copied the Book because it showed Krampus's
hand coming out of the chimney and the Film title in the curly serif font. (Id. at 18). As previously
discussed, these elements are unprotectable. Defendants' promotional materials are therefore not
substantially similar to the protected elements of the Book.

     After comparing the protectable elements of the Book to the Film, Graphic Novel, and Defendants'
promotional material, I find that there is no substantial similarity between the Book and Defendants'
works. Plaintiff has therefore not stated a claim of copyright infringement of his Book against
Defendants.

     ii. Plaintiff's YouTube Video

      In 2012, Plaintiff made the YouTube Video containing illustrations from the Book and a voiceover
reading the text of the Book. (D.I. 15 at 6). Plaintiff did not obtain a copyright registration on the
YouTube Video, but the Video is a derivative work of the Book. “[W]here the preexisting work is
registered, but the derivative work is not, a suit for infringement may be maintained as to any protected
element contained in the registered preexisting work, but not as to any element original to the
unregistered derivative work.” Well-Made Toy Mfg. Corp. v. Goffa Int'l Corp., 210 F.Supp.2d 147, 158
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(E.D.N.Y. 2002). Plaintiff may therefore claim infringement of the YouTube video only for elements that
are also present in the Book.[1] For the same reasons as stated for the Book, there is no substantial
similarity between the protectable elements in the YouTube Video and either Defendants' Film or
Graphic Novel. Plaintiff has therefore not stated a claim of copyright infringement against Defendants. b.
Access The second factor in analyzing whether there has been “unauthorized copying of original
elements of plaintiff's work” is actual copying. Tanksley, 902 F.3d at 173. Both factors, however, must be
satisfied for an adequate showing of unauthorized copying. See Id. Plaintiff has failed to sufficiently
allege substantial similarity between the Book and Defendants' accused works. Thus, I need not and will
not consider whether the complaint sufficiently alleges actual copying. See id.

         c. Summary

     In the instant case, there is no substantial similarity between Plaintiff's works (the Book and
YouTube Video) and Defendants' Film, Graphic Novel, or promotional materials. Thus, Plaintiff's
amended complaint fails to state a claim of copyright infringement.

         B. Indirect Infringement

      In the second and third counts of Plaintiff's amended complaint, Plaintiff alleges that Defendants
are contributorily and vicariously liable for infringement of the Book. (D.I. 15 at 20-22). There can be no
indirect infringement without direct infringement. See Metro-Goldwyn-Mayer Studios Inc. v. Grokster,
Ltd., 545 U.S. 913, 930 (2005). Plaintiff has failed to sufficiently allege direct infringement by
Defendants. Thus, Plaintiff does not state claims for contributory infringement or infringement based on
vicarious liability.

         C. Moral Rights

       The fourth count of Plaintiff's amended complaint alleges that Defendants have “infringed upon
Plaintiff's moral rights by not attributing Mr. Purohit as the author/creator” of the Film, Graphic Novel,
or promotional materials. (D.I. 15 at 22-23). The Book, however, is not eligible for moral rights
protection under 17 U.S.C. §106A. Section 106A only applies to “works of visual art.” “A work of visual
art” is “a painting, drawing, print, or sculpture, existing in a single copy, in a limited edition of 200
copies or fewer that are signed and consecutively numbered by the author.” 17 U.S.C. § 101. “A work of
visual art does not include any . . . book.” Id. Plaintiff's copyrighted work is a book, which is explicitly
exempt from being “a work of visual art.” Plaintiff argues that the Book is a “work of visual art” because
it contains paintings and drawings. (D.I. 22 at 16). In doing so, Plaintiff ignores the requirement that the
painting or drawing must be limited to 200 copies or fewer. 17 U.S.C. § 101. Plaintiff has sold “over 500
copies” of the Book. (D.I. 15 at 7). The Book is therefore not eligible for moral rights protection under §
106A.

         D. Remedies

     Plaintiff has failed to state a claim of copyright infringement. Thus, the fifth and sixth counts,
which do not allege additional claims, but instead request remedies, cannot stand alone. They too will be
dismissed.

         III. CONCLUSION

     For the reasons stated above, the Court GRANTS Defendants' Motion to Dismiss Pursuant to FRCP
12(b)(6) (D.I. 18). An accompanying order will issue.

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Notes:
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[1] Plaintiff also claims that the “Day of the Dead Krampus” skull and “Krampus Masks” are copied by Defendants, but these

derivative works are so different from the Book that they do not benefit from the protection of the copyright registration and
thus they cannot be the basis for a claim of copyright infringement. (D.I. 15 at 19); 17

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                          EXHIBIT 9
  Case 1:20-cv-00613-SB           Document 17-1         Filed 08/20/20       Page 55 of 65 PageID #: 530

Gamble v. Citizen Bank, 032119 DEDC, Civ. 18-1374-LPS

                                      WAYNE T. GAMBLE, Plaintiff,

                                                       v.

                             CITIZEN BANK (MAIN OFFICE), Defendant.

                                            Civ. No. 18-1374-LPS

                                 United States District Court, D. Delaware

                                                March 21, 2019

      Wayne T. Gamble, Wilmington, Delaware, Pro Se Plaintiff.

      MEMORANDUM OPINION

      Stark, U.S. District Judge.

      I. INTRODUCTION

      Plaintiff Wayne T. Gamble ("Plaintiff") filed this action on September 5, 2018. (D.I. 2) He appears
pro se and has been granted leave to proceed in forma pauperis. (D.I. 4) The Court proceeds to review
and screen the Complaint pursuant to 28 U.S.C. § 1915(e)(2).

      II. BACKGROUND

     Plaintiff alleges his farm money has been stolen and “they said murderer.” Plaintiff alleges
Defendant broke the law. He also refers to Kenny Gamble.

      III. LEGAL STANDARDS

      A federal court may properly dismiss an action sua sponte under the screening provisions of 28 U.S.
C. § 1915(e)(2)(B) if “the action is frivolous or malicious, fails to state a claim upon which relief may be
granted, or seeks monetary relief from a defendant who is immune from such relief.” Ball v. Famiglio,
726 F.3d 448, 452 (3d Cir. 2013); see also 28 U.S.C. § 1915(e)(2) (in forma pauperis actions). The Court
must accept all factual allegations in a complaint as true and take them in the light most favorable to a
pro se plaintiff. See Phillips v. County of Allegheny, 515 F.3d 224, 229 (3d Cir. 2008); Erickson v.
Pardus, 551 U.S. 89, 93 (2007). Because Plaintiff proceeds pro se, his pleading is liberally construed and
his Complaint, “however inartfully pleaded, must be held to less stringent standards than formal
pleadings drafted by lawyers.” Erickson, 551 U.S. at 94 (citations omitted).

        An action is frivolous if it “lacks an arguable basis either in law or in fact.” Neitzke v. Williams, 490
U.S. 319, 325 (1989). Under 28 U.S.C. § 1915(e)(2)(B)(i), a court may dismiss a complaint as frivolous
if it is “based on an indisputably meritless legal theory” or a “clearly baseless” or “fantastic or
delusional” factual scenario. Neitzke, 490 U.S. at 327-28; see also Wilson v. Rackmill, 878 F.2d 772, 774
(3d Cir. 1989).

       The legal standard for dismissing a complaint for failure to state a claim pursuant to § 1915(e)(2)(B)
(ii) is identical to the legal standard used when deciding Rule 12(b)(6) motions. See Tourscher v.
McCullough, 184 F.3d 236, 240 (3d Cir. 1999) (applying Fed.R.Civ.P. 12(b)(6) standard to dismissal for
failure to state a claim under § 1915(e)(2)(B)). However, before dismissing a complaint or claims for
failure to state a claim upon which relief may be granted pursuant to the screening provisions of 28 U.S.
C. § 1915, the Court must grant a plaintiff leave to amend his complaint unless amendment would be
inequitable or futile. See Grayson v. Mayview State Hosp., 293 F.3d 103, 114 (3d Cir. 2002).
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      A complaint may be dismissed only if, accepting the well-pleaded allegations in the complaint as
true and viewing them in the light most favorable to the plaintiff, a court concludes that those allegations
“could not raise a claim of entitlement to relief.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558 (2007).
Though “detailed factual allegations” are not required, a complaint must do more than simply provide
“labels and conclusions” or “a formulaic recitation of the elements of a cause of action.” Davis v.
Abington Mem'l Hosp., 765 F.3d 236, 241 (3d Cir. 2014) (internal quotation marks omitted). In addition,
a complaint must contain sufficient factual matter, accepted as true, to state a claim to relief that is
plausible on its face. See Williams v. BASF Catalysts LLC, 765 F.3d 306, 315 (3d Cir. 2014) (citing
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) and Twombly, 550 U.S. at 570). Finally, a plaintiff must
plead facts sufficient to show that a claim has substantive plausibility. See Johnson v. City of Shelby, ___
U.S. ___, 135 S.Ct. 346, 347 (2014). A complaint may not be dismissed for imperfect statements of the
legal theory supporting the claim asserted. See id. at 346.

      Under the pleading regime established by Twombly and Iqbal, a court reviewing the sufficiency of a
complaint must take three steps: (1) take note of the elements the plaintiff must plead to state a claim; (2)
identify allegations that, because they are no more than conclusions, are not entitled to the assumption of
truth; and (3) when there are well-pleaded factual allegations, the court should assume their veracity and
then determine whether they plausibly give rise to an entitlement to relief. See Connelly v. Lane Const.
Corp., 809 F.3d 780, 787 (3d Cir. 2016). Elements are sufficiently alleged when the facts in the
complaint “show” that the plaintiff is entitled to relief. See Iqbal, 556 U.S. at 679 (citing Fed.R.Civ.P. 8
(a)(2)). Deciding whether a claim is plausible will be a “context-specific task that requires the reviewing
court to draw on its judicial experience and common sense.” Id.

     IV. DISCUSSION

      The allegations in the Complaint are both legally and factually frivolous and do not rise to the level
of any constitutional violations. Plaintiff has raised many of these claims in cases previously dismissed
by the Court. As pled, there is no legal basis for Plaintiff's claims. Indeed, the allegations are conclusory,
somewhat delusional, and the Court's experience and common sense lead it to recognize that the
Complaint does not state a facially plausible claim for relief. See Iqbal, 556 U.S. at 679.

     V. CONCLUSION

      For the above reasons, the Court will dismiss the Complaint pursuant to 28 U.S.C. § 1915(e)(2)(B)
(i). The Court finds amendment futile.

     An appropriate Order follows.
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                        EXHIBIT 10
  Case 1:20-cv-00613-SB           Document 17-1        Filed 08/20/20       Page 58 of 65 PageID #: 533


                                    M2M SOLUTIONS LLC, Plaintiff,

                                                       v.

   TELIT COMMUNICATIONS PLC and TELIT WIRELESS SOLUTIONS INC., Defendants.

                                       Civil Action No. 14-1103-RGA

                                United States District Court, D. Delaware

                                               August 5, 2015

      Richard D. Kirk, Esq., Stephen B. Brauerman, Esq., Vanessa R. Tiradentes, Esq., Sara E. Bussiere,
Esq., BAYARD, P.A., Wilmington, DE. Attorneys for Plaintiff.

     Jack B. Blumenfeld, Esq., Rodger D. Smith II, Esq., Morris, Nichols, Arsht & Tunnell LLP,
Wilmington, DE. Attorneys for Defendant Telit Communications PLC.

      MEMORANDUM

      ANDREWS, U.S. DISTRICT JUDGE

     I. INTRODUCTION

      On August 26, 2014, Plaintiff M2M Solutions LLC ("Plaintiff') filed this patent infringement action
against Defendants Telit Communications PLC ("Telit UK") and Telit Wireless Solutions Inc. ("Telit
US") to enforce its rights in United States Patent No. 8, 648, 717 (the "patent-in-suit"), asserting claims
of direct infringement in violation of 35 U.S.C. § 271(a), active inducement of infringement in violation
of 35 U.S.C. § 271(b), and contributory infringement in violation of 35 U.S.C. § 271(c). (D.I. 1).
Presently before the Court is Defendant Telit UK's motion to dismiss all three claims for failure to state a
claim under Federal Rule of Civil Procedure 12(b)(6). (D.I. 27). The motion has been fully briefed (D.I.
28, 40, 47). For the reasons set forth herein, Telit UK's motion is granted.

     II. BACKGROUND

     Plaintiff is a limited liability company organized and existing under the laws of the State of
Delaware, having its principal place of business in Shepherdstown, West Virginia. (D.I. 1 at 1).
Defendant Telit U.S. is a corporation organized and existing under the laws of the State of Delaware,
having its principal place of business in Morrisville, North Carolina. (Id. at 2). Defendant Telit UK is a
corporation formed and existing under the laws of the United Kingdom, having its principal place of
business in London. (Id. at 1). Telit UK is the ultimate parent company of Telit US. (Id. at 1).

     Plaintiff is the owner of the patent-in-suit. (D.I. 1 at 3). The '717 patent was issued on February 11,
2014 and is entitled "Programmable Communicator." (Id.).

      Plaintiff alleges in its complaint that "Telit has and continues to directly infringe" the '717 patent-in-
suit by "making, using, offering for sale, and/or selling within the United States, and/or importing into
the United States" various "M2M module products" that are "designed and promoted for use in M2M
communications applications, and that embody and/or practice the inventions of one or more claims of
the '717 patent-in-suit." (Id. at 4).[1] Plaintiff also alleges that "Telit has actively induced direct
infringement" by "designing and introducing into the stream of commerce its M2M module products, "
by "publishing manuals and promotional literature, " by "offering support and technical assistance, " all
of which induce "its customers" to commit direct infringement of the '717 patent-in-suit. (Id. at 5).
Plaintiff additionally claims that "Telit" committed contributory infringement "by selling, offering for
sale, and/or importing" its products "within or into the United States knowing that [its] products are
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especially made or especially adapted for use in direct infringement" and that "those products are not...
suitable for substantial noninfringing use." (Id. at 5-6). By its present motion, Defendant Telit UK argues
that Plaintiff fails to state a claim upon which relief could be granted against Telit UK in all three
infringement claims. (D.I. 27).

     III. LEGAL STANDARD

      Federal Rule of Civil Procedure 8(a)(2) stipulates that a claim for relief must contain "a short and
plain statement of the claim showing that the pleader is entitled to relief." In order to survive a Rule 12(b)
(6) motion to dismiss, a plaintiffs pleading must contain "enough facts to state a claim for relief that is
plausible on its face." Bell Ail. Corp. v. Twombly, 550 U.S. 544, 555 (2007). A claim is facially plausible
when the factual allegations allow the court to draw the reasonable inference that the defendant is liable
for the misconduct alleged. Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009). When considering Rule 12(b)(6)
motions, the court "must accept as true the factual allegations in the complaint and all reasonable
inferences that can be drawn therefrom." Nami v. Fauver, 82 F.3d 63, 65 (3d Cir. 1996).

     IV. DISCUSSION

     A. Direct Infringement

     1. Standard

      35 U.S.C. § 271(a) provides for the cause of action for direct infringement, under which "whoever
without authority makes, uses, offers to sell, or sells any patented invention ... during the term of the
patent therefor, infringes the patent." The Court of Appeals for the Federal Circuit has held that
compliance with Form 18 is sufficient to state a claim of direct infringement. In re Bill of Lading, 681 F.
3d 1323, 1334 (Fed. Cir. 2012) (acknowledging that "to the extent the parties argue that Twombly and its
progeny conflict with the Forms and create differing pleading requirements, the Forms control."); McZeal
v. Sprint Nextel Corp., 501 F.3d 1354, 1357 (Fed. Cir. 2007). Requirements for Form 18 are: "(1) an
allegation of jurisdiction; (2) a statement that plaintiff owns the patent; (3) a statement that defendant has
been infringing the patent by 'making, selling, and using [the device] embodying the patent'; (4) a
statement that the plaintiff has given the defendant notice of its infringement; and (5) a demand for an
injunction and damages." McZeal, 501 F.3d at 1357.

     2. Discussion

      Defendant Telit UK argues that Plaintiffs claim fails to identify Telit UK's enumerated acts that
constitute direct infringement and is merely a verbatim repetition of the language in 35 U.S.C. § 271(a).
(D.I. 28 at 7) (citing Mobil Oil Corp. v. Linear Film, Inc., 718 F.Supp. 260, 265 (D. Del. 1989).[2] Telit
UK also argues that Plaintiffs factual inference is not only unfounded, but also directly contradictory to
the uncontroverted evidence that Plaintiff has obtained in another lawsuit between the same parties,
making the claim against Telit UK implausible and unable to pass muster under Iqbal. (D.I. 47 at 6)
(citing Iqbal, 556 U.S. at 678).

      Plaintiffs allegation of the infringing acts satisfies the pleading standard. When the Forms conflict
with Twombly and its progeny by creating differing pleading requirements, the Federal Circuit has held
that "the Forms control." In re Bill of Lading, 681 F.3d at 1334. In the pending case, Plaintiffs claim
identifies acts that directly infringe the patent: "making, using, offering for sale, and/or selling within the
United States" M2M module products. (D.I. 1 at 4). Consequently, Plaintiffs allegations of infringing acts
are sufficient because they comply with Form 18.

      Arguing that Plaintiffs factual allegation of infringing acts is directly contrary to the evidence that
has been provided to Plaintiff in another case (D.I. 28 at 3).[3] Telit UK uses extrinsic evidence that is not
included in Plaintiffs complaint to demonstrate the implausibility of Plaintiff s factual inference. The use
of extrinsic evidence is improper. "To decide a motion to dismiss, courts generally consider only the
allegations contained in the complaint, exhibits attached to the complaint and matters of public record."[4]
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Schmidt v. Skolas, 770 F.3d 241, 249 (3d Cir. 2014). As a result, extrinsic evidence from the 12-033-
RGA action cannot be considered at the present stage.

      Plaintiffs direct infringement claim does suffer from a pleading defect which Defendant Telit UK
does not explicitly raise. Plaintiffs decision to lump two defendants together in addressing its direct
infringement claim cannot pass muster under Form 18, which also requires the identification of the
accused product, process or method for each defendant. Indeed, Plaintiffs complaint does not identify
which particular defendant or defendants are responsible for which allegedly infringing products, process
or method. Failing to satisfy Form 18, Plaintiffs direct infringement claim must be dismissed.

      In its answering brief (D.I. 40), Plaintiff asserts that it decided to group Telit UK and Telit U.S.
under an umbrella term "Telit" because "[t]here is little distinction between [Telit UK] and [Telit US]"
based on Telit UK's public representations suggesting its actual control over Telit U.S. in its machine-to-
machine communication business. (D.I. 40 at 2-4). For the same reason, Plaintiff alleges that even if Telit
UK insists that Telit U.S. is the relevant entity responsible for the products shipped to the United States,
Plaintiff is "seeking to hold [Telit UK] liable for [Telit US]'s sales" due to Telit UK's total control over
Telit US. (D.I. 40 at 10).

       Plaintiffs claim that a foreign parent is responsible for the alleged infringement by its domestic
subsidiary must also satisfy the pleading standard of Rule 8(a). See Novo Nordisk v. Caraco
Pharmaceutical Laboratories, 450 F.Supp.2d 757, 761 (E.D. Mich. 2006). As that court held, to state a
claim "based on an alleged parent-subsidiary relationship, a plaintiff would have to allege: (1) the
existence of a parent-subsidiary relationship, and (2) facts that justify piercing the corporate veil." See Id.
(citation omitted). "[T]he existence of an agency relationship between the entities where the parent
effectively controls the conduct of the subsidiary" could satisfy the second condition. Id.

      In its complaint, Plaintiff alleges the existence of a parent-subsidiary relationship. (D.I. 1 at 1-2).
However, nowhere in its complaint does Plaintiff present facts that demonstrate the parent's effective
control over the subsidiary. All the facts alleged to support Plaintiffs assertion that Telit UK controls
Telit US's conduct are contained in Plaintiffs answering brief in opposition to Telit UK's motion to
dismiss (D.I. 40 at 2-4) and its attached exhibits (D.I. 41). As the Third Circuit has stated, "[i]t is
axiomatic that the complaint may not be amended by the briefs in opposition to a motion to dismiss."
Com. of Pa. ex rel. Zimmerman v. PepsiCo. Inc., 836 F.2d 173, 181 (3d Cir. 1988) (citation omitted). As
a result, the factual allegations of Telit UK's control over Telit U.S. are not included in the complaint and
are not entitled to consideration in the pleading stage. See Telecomm Innovations, LLC v. Ricoh
Company, Ltd., 966 F.Supp.2d 390, 393 (D. Del. 2013) (holding that "a court may consider the pleadings,
public record, orders, exhibits attached to the complaint, and documents incorporated into the complaint
by reference"). Thus, the direct infringement claim will be dismissed.

     B. Indirect infringement claims

     1. Inducement standard

      Under 35 U.S.C. § 271(b), "whoever actively induces infringement of a patent shall be liable as an
infringer." In order to plead induced infringement, the patentee "must show direct infringement, and that
the alleged infringer knowingly induced infringement and possessed specific intent to encourage
another's infringement." Toshiba Corp. v. Imation Corp., 681 F.3d 1358, 1363 (Fed. Cir. 2012) (citation
omitted). To survive a motion to dismiss under Rule 12(b)(6), a plaintiff must plead facts "plausibly
showing that [the alleged infringer] specifically intended [a third party] to infringe [the patent-in-suit]
and knew that the [third party's] acts constituted infringement." In re Bill of Lading, 681 F.3d at 1339.

     a. Knowledge that direct infringer's acts constituted infringement

      Plaintiff sufficiently alleges Telit UK's knowledge of the existence of the patent-in-suit. (D.I. 1 at 4,
¶ 10). Defendant Telit UK claims, nevertheless, that Plaintiff fails to state an induced infringement claim
because it lacks any plausible facts to demonstrate Telit UK's knowledge that the alleged third party's
acts constitute direct infringement. (D.I. 28 at 7-8). Plaintiff asserts in its complaint that "[u]pon
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information and belief, Telit has performed the acts that constitute inducement of infringement with the
knowledge or willful blindness that the acts induced thereby would constitute direct infringement by its
customers." (D.I. 1 at 5). This assertion based on no factual allegations cannot pass muster under the
plausibility standards. Iqbal, 556 U.S. at 687; see also Bascom Research LLC v. Facebook, Inc., 2013
WL 968210, at *4 (N.D. Cal. 2013) (holding that "conclusory allegations regarding knowledge are
insufficient" in induced claims). Consequently, Plaintiff insufficiently pleads the requisite knowledge
element of the induced infringement claim.

     b. Specific intent to infringe

      In addition to the knowledge of a third party's direct infringement, Plaintiff also has to demonstrate
specific intent to infringe. The Supreme Court has held that "[e]vidence of 'active steps ... taken to
encourage direct infringement, ' such as advertising an infringing use or instructing how to engage in an
infringing use, shows an affirmative intent that the product be used to infringe." Metro-Goldwyn-Mayer
Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 936 (2005). This Court has also held that "[allegations of the
marketing activities of the Defendants do not, on their own, demonstrate that Defendants knew such
activities were infringing or that Defendants possessed the specific intent to encourage another's
infringement." MONEC Holding AG v. Motorola Mobility, Inc., 897 F.Supp.2d 225, 234 (D. Del. 2012);
see also Neology Inc. v. Kapsch Trafficcom IVHS, Inc., 2014 WL 467316 at *6 (D. Del. 2014)
(recognizing that "assertions that a defendant provided unspecified 'training and instructions to its
customers concerning the use of the Accused Products' are not specific enough ... and simply begs the
question: 'Provided 'training and instructions' as to what?'").

       In the pending case, Telit UK argues that Plaintiffs general allegations of Defendants "publishing
manuals and promotional literature" and "offering support and technical assistance" similarly fail to show
an affirmative intent to induce infringement. (D.I. 28 at 11). The Court disagrees. Plaintiff at bar alleges:
"Telit has actively induced direct infringement by, inter alia, ... publishing manuals and promotional
literature describing and instructing the configuration and operation of those products in an infringing
manner by its customers, and by offering support and technical assistance to its customers that encourage
use of those products in ways that directly infringe one or more claims of the [patent in suit]." (D.I. 1 at
5). In short, Plaintiff alleges that Defendants provided instructions to their customers on use of those
products in a manner that would directly infringe the patent. This allegation is sufficient to plead
Defendants' specific intent. See Telecomm Innovations, LLC v. RICOH Company, Ltd., 966 F.Supp.2d
390, 395 (D. Del. 2013) (denying a motion to dismiss, since the complaint alleged that the defendant
induced infringement by "providing those customers and others with technical support and services, as
well as detailed explanations, instructions and information as to arrangements, applications and uses of
the [a]ccused [instrumentalities that promote and demonstrate how to use the [a]ccused [instrumentalities
in a manner that would infringe the [patent]").

      Even if the specific intent requirement were satisfied by alleging acts that induce direct
infringement, the complaint suffers from yet another defect: fusing the two Defendants as one is also
problematic for Plaintiffs indirect infringement claims against Telit UK. With regard to inducement
claims, this Court has held that "[w]hen articulating certain of its inducement allegations, " the plaintiff
has to identify "which particular Defendant or Defendants are said to have disseminated the training or
instructional materials at issue." Neology, 2014 WL 467316 at *7 (explaining that "treating these
Defendants as one big group for purpose of articulating how each has encouraged the induced
infringement at issue says nothing plausible as to what any particular one of them might have done").
Referring to both Defendants under one single term, Plaintiff has not pled a plausible inducement claim
against Telit UK as a result.

     C. Contributory Infringement Claim

      To state a contributory infringement claim under 35 U.S.C. § 271(c), a plaintiff has to allege that a
defendant "offers to sell or sells within the United States or imports into the United States a component
of a patented machine ...." Telit UK argues that Plaintiff has not plausibly alleged Telit UK as a
contributory infringer because Plaintiff offers no evidence to demonstrate that Telit UK offers to sell,
sells or imports any products or components in or to the United States. (D.I. 28 at 12). Plaintiff, once
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again, bases its contributory infringement claim against Telit U.S. and Telit UK under the umbrella term
"Telit" on Telit UK's "public representation that, inter alia, Telit UK operates as a single global company
with offices and facilities under its direction and control in the United States." (D.I. 40 at 12). Plaintiffs
argument is similar to its reasoning behind lumping Telit U.S. and Telit UK together in the direct and
induced infringement claims. The contributory claim thus also is insufficiently stated and must be
dismissed.[5]

         V. Conclusion

      For the aforementioned reasons, Defendant Telit UK's motion to dismiss for failure to state a claim
(D.I. 27) is granted without prejudice. A separate order, consistent with this Memorandum Opinion, will
be entered.

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Notes:

[1] Other than in paragraphs 1-3 of the complaint, Plaintiff refers to the two Defendants as "Telit, " as if both Defendants were

one entity.

[2] The Mobil Oil Corp case did not address Form 18 or Rule 8 pleading standards, but was on a summary judgment motion

under Rule 56(c), see 718 F.Supp. at 263-65, which makes it irrelevant to the pleading stage of the pending case.

[3] "During discovery in the 2012 case, [Telit UK] provided sworn interrogatory responses that it has not' "made, used, offered

for sale or sold within the United States, and/or imported into the United States" any of the products at issue, ' which M2M
used in a Rule 30(b)(6) deposition." (internal citation omitted) (D.I. 28 at 3).

[4] One exception is that a "document integral to or explicitly relied upon in the complaint" could be considered "without

converting the motion to dismiss into one for summary judgment." 770 F.3d at 249 (citation omitted). Since Plaintiff did not
base its complaint on discovery from the 12-033-RGA action, evidence from that case should not be used in deciding a motion
to dismiss, even though the parties agreed to use the discovery taken in the 2012 case in this case. (D.I. 47 at 6).

[5] The contributory infringement claim is also factually too conclusory to state a claim. (See D.I. 1 at 5, 115).


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                        EXHIBIT 11
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Abselet v. Hudson Labor Solutions, Inc., 020420 FED9, 18-56027

HOWARD L. ABSELET, an individual and derivatively on behalf of ROOSEVELT LOFTS, INC.,
                                 Plaintiff - Appellee,

                                                     v.

 HUDSON LABOR SOLUTIONS, INC., a California corporation; et al., Defendants - Appellants.

                                               No. 18-56027

                             United States Court of Appeals, Ninth Circuit

                                            February 4, 2020

     NOT FOR PUBLICATION

      Argued and Submitted January 9, 2020 Pasadena, California

      Appeal from the United States District Court No. 2:16-cv-06263-JFW-JEM for the Central District
of California John F. Walter, District Judge, Presiding

      Before: WATFORD, BENNETT, and LEE, Circuit Judges.

      MEMORANDUM [*]

     Hudson Labor Solutions, Inc. and its owners, brothers Raymond and Rodney Yashouafar
("Raymond Y." and "Rodney Y."), appeal the district court's grant of summary judgment in favor of
Howard Abselet on his claim for intentional interference with contractual relations. We have jurisdiction
under 28 U.S.C. § 1291, and we review the district court's ruling de novo. See Bravo v. City of Santa
Maria, 665 F.3d 1076, 1083 (9th Cir. 2011). We reverse and remand.

      In 2008, Abselet loaned six million dollars from a medical malpractice settlement to a group that
included Solyman Yashouafar and Massoud Yashouafar (together, the "Judgment Debtors"), who are the
father and uncle, respectively, of Raymond Y. and Rodney Y. When the Judgment Debtors defaulted on
the loan, Abselet sued for recovery of his principal. The February 10, 2012 settlement of that lawsuit is
the contract at issue here. The Judgment Debtors agreed to repay Abselet by, among other things,
conveying their interest in up to $1.125 million from a bankruptcy class action reserve.

      Abselet subsequently executed writs of attachment against the Judgment Debtors and undertook
various efforts to recover the amounts owed. Unfortunately, these efforts have been repeatedly frustrated
by fraudulent conveyances of assets from the Judgment Debtors to family members.

      The intentional interference claim here involves a transaction that Abselet alleges was fraudulently
made to circumvent the $1.125 million owed from the class action reserve under the settlement
agreement. In March 2012, the Judgment Debtors authorized a $300, 000 payment to Hudson - an
apparent shell company owned by Raymond Y. and Rodney Y. - from the class action reserve. Over the
next two years, Hudson paid $267, 000 in "wages" to the Judgment Debtors and their spouses, which
appears to be an improper pass-through of most of the $300, 000 payment.

      1. Despite strong evidence of egregious misconduct by the appellants and the Judgment Debtors,
we are unable to affirm the district court's summary judgment ruling because, viewing the record in a
light most favorable to the appellants, there is a genuine issue of material fact as to whether Abselet's
intentional interference claim was timely filed. See Bravo, 665 F.3d at 1083. An intentional interference
claim typically accrues for statute of limitations purposes "at the date of the wrongful act," or no later
"than the actual breach of the contract." See Trembath v. Digardi, 118 Cal.Rptr. 124, 125 (Cal.Ct.App.
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1974). Here, the allegedly induced breach occurred on or about March 20, 2012, while this action was
not filed until August 22, 2016 - after either the two or three-year limitations period that applies to
intentional interference claims. See id. (normal limitations period is two years); Romano v. Wilbur Ellis
& Co., 186 P.2d 1012, 1015 (Cal.Ct.App. 1947) (three-year limitations period where fraudulent
inducement is alleged).

      The delayed discovery rule can extend a statute of limitations, such that it "begins to run when the
plaintiff has reason to suspect an injury and some wrongful cause, unless the plaintiff pleads and proves
that a reasonable investigation at that time would not have revealed a factual basis for that particular
cause of action." Fox v. Ethicon Endo-Surgery, Inc., 110 P.3d 914, 917 (Cal. 2005). The district court
relied on this rule to find that the earliest Abselet could have discovered the factual predicate for his
claim was during the August 27, 2015 deposition of Raymond Y. in a different case. But on March 29,
2013, Abselet's attorney sent a demand letter that accused the $300, 000 payment to Hudson of being an
improper distribution to the Judgment Debtors "through a variety of entities and third-party obligors."
Because we must accord all inferences in the appellants' favor at this stage, we conclude that the letter
raises a genuine issue of material fact as to whether, under the delayed discovery rule, the March 29,
2013 letter triggered the statute of limitations for the intentional interference claim.

      Abselet alternatively argues that the district court's ruling should be affirmed on the basis of
equitable tolling. A statute of limitations may be tolled "when an injured person has several legal
remedies and, reasonably and in good faith, pursues one." McDonald v. Antelope Valley Cmty. Coll. Dist.
, 194 P.3d 1026, 1031 (Cal. 2008). Three elements are required: (i) timely notice; (ii) lack of prejudice to
the defendant; and (iii) reasonable and good faith conduct by the plaintiff. See id. at 1033.

      While Abselet identifies two events that he contends tolled the statute of limitations, genuine issues
of material fact exist as to whether either event provided the appellants with timely notice of a potential
intentional interference claim. First, Abselet filed a July 9, 2013 bankruptcy motion challenging certain
distributions from the class action reserve. The motion, however, did not discuss the $300, 000 payment
to Hudson, but instead identified seven other distributions it deemed improper. And second, Raymond Y.
filed a third-party motion in a different action related to the transfer of stock in two companies. But
neither the third-party motion nor the action in which it was brought had any connection to the $300, 000
payment. Accordingly, there remain genuine disputes of material fact, and so we are unable to hold that
Abselet is entitled to equitable tolling as a matter of law.

      2. Intentional interference with contractual relations requires: (i) a valid contract; (ii) defendant's
knowledge of the contract; (iii) intentional acts designed to induce a breach of the contract; (iv) actual
breach; and (v) damages. Pac. Gas & Elec. Co. v. Bear Stearns & Co., 791 P.2d 587, 589-90 (Cal. 1990).
The record reflects genuine issues of material fact as to whether the settlement agreement had taken
effect when Hudson received the $300, 000 payment, whether the appellants knew about the settlement
agreement at that time, and whether the appellants induced a breach of the settlement agreement. The
district court therefore also erred in granting summary judgment with respect to these elements of the
intentional interference claim.

         REVERSED AND REMANDED.

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Notes:

[*] This disposition is not appropriate for publication and is not precedent except as provided by Ninth Circuit Rule 36-3.


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